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        ORAL ARGUMENT HAS NOT BEEN SCHEDULED

            In the United States Court of Appeals
             for the District of Columbia Circuit
                       Nos. 22-1214 and 22-1315

                               __________

                        FOOD & WATER WATCH,
                             Petitioner,

                                   v.

              FEDERAL ENERGY REGULATORY COMMISSION,
                           Respondent.
                               __________

              ON PETITIONS FOR REVIEW OF ORDERS OF THE
              FEDERAL ENERGY REGULATORY COMMISSION
                               __________

                 BRIEF OF RESPONDENT
        FEDERAL ENERGY REGULATORY COMMISSION
                               __________



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                                          Commission
                                         Washington, D.C. 20426

INITIAL BRIEF: May 15, 2023
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         Certificate as to Parties, Rulings, and Related Cases

A.    Parties:

      The parties appearing before this Court and before the Federal

Energy Regulatory Commission are as stated in petitioner’s brief.

B.    Rulings under review:

      1.    Tennessee Gas Pipeline Co., Order Issuing Certificate, 179
            FERC ¶ 61,041 (2022) (Certificate Order), R. 395, JA ____;
            and

      2.    Tennessee Gas Pipeline Co., Order on Rehearing and
            Denying Stay, 181 FERC ¶ 61,051 (2022) (Rehearing Order),
            R. 414, JA ___.

C.    Related cases:

      This case has not previously been before this Court or any other

court.


                                             /s/ Scott Ray Ediger
                                             Scott Ray Ediger
                                             Attorney

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                               Glossary

  Br.                       Opening brief of Petitioner Food & Water
                            Watch

  Climate Act               Climate Leadership and Community
                            Protection Act, N.Y. Sess. Laws ch. 106
                            (McKinney)

  Commission or FERC        Respondent Federal Energy Regulatory
                            Commission

  Consolidated Edison       Intervenor Consolidated Edison Company
                            of New York, Inc.

  Environmental             Environmental Assessment, issued
  Assessment                February 19, 2021, R. 49, and attached as
                            Appendix C to Final EIS, JA ____

  Final EIS                 Final Environmental Impact Statement,
                            issued September 24, 2021, R. 379, JA ____

  Food & Water Watch        Petitioner Food & Water Watch

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  New York Commission       New York State Public Service
                            Commission

  Orders on review

    Certificate Order       Tennessee Gas Pipeline Co., 179 FERC
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    Rehearing Order         Tennessee Gas Pipeline Co., 181 FERC
                            ¶ 61,051 (2022), R. 414, JA ____


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                               Glossary

  P                         Paragraph in a FERC order

  Project                   Tennessee Gas’s East 300 Upgrade Project

  R.                        Record Item

  Tennessee Gas             Intervenor Tennessee Gas Pipeline
                            Company, L.L.C.




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                        Nos. 22-1214 and 22-1315

                                 __________

                          FOOD & WATER WATCH,
                               Petitioner,

                                     v.

               FEDERAL ENERGY REGULATORY COMMISSION,
                            Respondent.
                                 __________

               ON PETITIONS FOR REVIEW OF ORDERS OF THE
               FEDERAL ENERGY REGULATORY COMMISSION
                                 __________

                  BRIEF OF RESPONDENT
         FEDERAL ENERGY REGULATORY COMMISSION
                                 __________

                           Statement of Issues

      The Federal Energy Regulatory Commission (FERC or

 Commission) issued a certificate of “public convenience and necessity,”

 under section 7(c) of the Natural Gas Act, 15 U.S.C. § 717f(c), to

 Intervenor Tennessee Gas Pipeline Company, L.L.C. (Tennessee Gas).

 That certificate conditionally authorized Tennessee Gas, which owns

 and operates interstate natural gas pipelines, to construct and operate

 the East 300 Upgrade Project (Project), which includes construction and
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 operation of one new compressor station in Passaic County, New Jersey

 and modifications to two existing compressor stations, one in

 Susquehanna County, Pennsylvania and one in Sussex County, New

 Jersey. The Project will permit Tennessee Gas to provide additional

 transportation service on its existing 300 Line to the sole, unaffiliated

 shipper on the Project, Intervenor Consolidated Edison Company of

 New York, Inc. (Consolidated Edison). Consolidated Edison will use the

 additional capacity on Tennessee Gas’s system to resolve supply

 constraints in Westchester County, New York.

      In its Environmental Impact Statement (Final EIS), R. 379, the

 Commission determined that the Project’s adverse environmental

 impacts would be reduced to less-than-significant levels by avoidance,

 minimization, and mitigation measures. The Commission was unable

 to determine the significance of the Project’s effect on climate change

 but provided and considered information about greenhouse gas

 emissions and climate change in its analysis. Upon balancing the

 evidence of public benefits against the potential adverse economic and

 environmental effects of the Project, the Commission determined the

 Project would serve the public interest. See Tennessee Gas Pipeline Co.,


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 Order Issuing Certificate, 179 FERC ¶ 61,041 (2022) (Certificate

 Order), R. 395, JA ____, Order on Rehearing and Denying Stay, 181

 FERC ¶ 61,051 (2022) (Rehearing Order), R. 414, JA ____.

      The issues on appeal, presented by Petitioner Food & Water

 Watch, are:

      (1) Did the Commission adequately explain why, after weighing

 benefits and adverse effects, it found the Project to be consistent with

 the public interest under section 7 of the Natural Gas Act, 15 U.S.C.

 § 717f, even in light of state policies addressing climate change?

      (2) Did the Commission reasonably comply with the National

 Environmental Policy Act (NEPA) when it: (a) found that indirect

 effects related to upstream natural gas production are neither caused

 by nor reasonably foreseeable effects of the Project, in light of

 Consolidated Edison’s access to diverse supply regions; (b) found that

 indirect effects related to ozone are speculative and not reasonably

 foreseeable; and (c) quantified construction, operation, and downstream

 greenhouse gas emissions, compared them to national and state

 emissions, discussed the relationship between emissions and climate

 change, and provided the social cost of emissions?


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                        Statutes and Regulations

      Pertinent statutes and regulations are reproduced in the

 Addendum.

                            Statement of Facts

 I.   Statutory and regulatory background

      A.     Natural Gas Act

      In the Natural Gas Act, Congress declared that the transportation

 and sale of natural gas in interstate commerce for ultimate distribution

 to the public is in the public interest. See 15 U.S.C. § 717(a). The

 Natural Gas Act is designed “to encourage the orderly development of

 plentiful supplies of . . . natural gas at reasonable prices.” Pub. Utils.

 Comm’n of Cal. v. FERC, 900 F.2d 269, 281 (D.C. Cir. 1990) (quoting

 NAACP v. FPC, 425 U.S. 662, 670 (1976)). To that end, section 1(b)

 grants the Commission jurisdiction over the transportation and

 wholesale sale of natural gas in interstate commerce. 15 U.S.C.

 § 717(b).

      Before a company may construct and operate an interstate natural

 gas pipeline, it must obtain from the Commission a “certificate of public

 convenience and necessity” under section 7(c), 15 U.S.C. § 717f(c).


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 Under section 7(e), the Commission shall issue a certificate to any

 qualified applicant upon finding that the proposed construction and

 operation of the pipeline facility “is or will be required by the present or

 future public convenience and necessity.” 15 U.S.C. § 717f(e). The Act

 empowers the Commission to “attach to the issuance of the certificate

 . . . such reasonable terms and conditions as the public convenience and

 necessity may require.” Id.

      B.    The Commission’s Certificate Policy Statement

      In 1999, the Commission established its policy for certificating

 new pipeline construction. See Certification of New Interstate Gas

 Pipeline Facilities, 88 FERC ¶ 61,227 (1999) (Certificate Policy

 Statement), clarified, 90 FERC ¶ 61,128, further clarified, 92 FERC

 ¶ 61,094 (2000). The Commission sought to balance anticipated growth

 in demand for natural gas against concerns about overbuilding,

 subsidization by existing captive customers, and unnecessary exercise

 of eminent domain. Id. at 61,736-37.

      To achieve that balance, the Commission adopted a multi-step

 analysis. An existing pipeline faces a threshold question whether the

 project can proceed without subsidies from its existing customers. See


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 Certificate Policy Statement at 61,745; Myersville Citizens for a Rural

 Cmty., Inc. v. FERC, 783 F.3d 1301, 1309 (D.C. Cir. 2015).

      Next, the Commission will consider adverse economic effects on

 the interests of the applicant’s existing customers, competing existing

 pipelines and their captive customers, and landowners and surrounding

 communities. See Certificate Policy Statement at 61,747. After the

 pipeline applicant has made efforts to eliminate or minimize any

 adverse effects on these groups, the Commission balances any residual

 potential adverse effects against a project’s public benefits. See id. at

 61,745-46, 61,748-50; Myersville, 783 F.3d at 1309.

      Public benefits may include “meeting unserved demand,

 eliminating bottlenecks, access to new supplies, lower costs to

 consumers, providing new interconnects that improve the interstate

 grid, providing competitive alternatives, increasing electric reliability,

 or advancing clean air objectives.” Certificate Policy Statement at

 61,748; Minisink Residents for Env’t Pres. & Safety v. FERC, 762 F.3d

 97, 101 n.1 (D.C. Cir. 2014). Most of these benefits “accrue from the

 proposed project itself, not from the end use of the transported natural

 gas.” Fla. Se. Connection, LLC, 162 FERC ¶ 61,233 P 43, reh’g denied,


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 164 FERC ¶ 61,099 (2018) (on remand from Sierra Club v. FERC, 867

 F.3d 1357, 1379 (D.C. Cir. 2017) (Sabal Trail)).

      The balancing of public benefits against the adverse effects largely

 focuses on economic interests such as those of existing customers, other

 pipelines, and landowners. See Certificate Policy Statement at 61,745.

 Only when the public benefits outweigh the adverse effects on economic

 interests will the Commission complete its environmental analysis and

 render a decision that considers both economic and environmental

 issues. See id. at 61,745; Fla. Se. Connection, 164 FERC ¶ 61,099 P 54.

      C.    National Environmental Policy Act

      The Commission’s consideration of an application for a certificate

 of public convenience and necessity triggers NEPA review. See 42

 U.S.C. §§ 4321, et seq. NEPA sets out procedures to be followed by

 federal agencies to ensure that the environmental effects of proposed

 actions are “adequately identified and evaluated.” Robertson v. Methow

 Valley Citizens Council, 490 U.S. 332, 350 (1989). “NEPA imposes only

 procedural requirements on federal agencies with a particular focus on

 requiring agencies to undertake analyses of the environmental impact




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 of their proposals and actions.” Dep’t of Transp. v. Pub. Citizen, 541

 U.S. 752, 756-57 (2004).

      “NEPA has twin aims. First, it places upon an agency the

 obligation to consider every significant aspect of the environmental

 impact of a proposed action. Second, it ensures that the agency will

 inform the public that it has indeed considered environmental concerns

 in its decisionmaking process.” Baltimore Gas & Elec. Co. v. Nat. Res.

 Def. Council, Inc., 462 U.S. 87, 97 (1983) (citations and quotation marks

 omitted). Accordingly, an agency must “take a ‘hard look’ at the

 environmental consequences before taking a major action.” Id.

      Council on Environmental Quality implementing regulations

 require agencies to consider the environmental effects of a proposed

 action by preparing either an environmental assessment, if supported

 by a finding of no significant impact, or a more comprehensive

 environmental impact statement. See 40 C.F.R. § 1501.3(a)(2), (3).1


      1 The NEPA environmental documents in this case were issued
 pursuant to Council on Environmental Quality regulations issued in
 1978. See Certificate Order P 32 n.55, P 49 n.89, JA ____, ____;
 Rehearing Order P 19 n.42, JA ____; Final EIS at 4 n.6, JA ____;
 Environmental Assessment at 1 n.2, JA ____. Revised regulations were
 issued in July 2020, and further revisions were issued in April 2022

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        NEPA requires consideration of direct effects (“caused by the

 action and occur at the same time and place”) and indirect effects

 (“caused by the action and are later in time or farther removed in

 distance, but are still reasonably foreseeable”). 40 C.F.R. § 1508.1(g)(1),

 (2).

 III. The Commission’s review of the project

        A.   The East 300 Upgrade Project

        Tennessee Gas initiated administrative proceedings in June 2020

 when it filed an application for authorization to construct and operate

 facilities at a new compressor station in Passaic County, New Jersey

 and at existing stations in Susquehanna County, Pennsylvania and

 Sussex County, New Jersey. See Certificate Order P 1, 4-5 (describing

 proposed facilities), JA ____-__. Tennessee Gas designed the Project so

 that it could provide additional firm transportation service on its



 that generally restored provisions of the 1978 regulations that were
 modified in 2020. See Update to the Regulations Implementing the
 Procedural Provisions of the National Environmental Policy Act, 85 Fed.
 Reg. 43,304 (July 16, 2020); National Environmental Policy Act
 Implementing Regulations Revisions, 87 Fed. Reg. 23,453 (Apr. 20,
 2022). Unless there is a substantive difference between versions
 relevant to this case, this brief will cite the current regulations as
 revised in 2022.

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 existing 300 Line system to a sole customer, the unaffiliated

 Consolidated Edison. See id. P 6, JA ____.

      In support of the project, Tennessee Gas signed a 20-year binding

 precedent agreement with Consolidated Edison, which was later

 amended to provide for additional capacity. See Certificate Order P 6,

 JA ____. Consolidated Edison, which provides natural gas service to

 customers in New York City and Westchester County, and is regulated

 by the Public Service Commission of New York (New York Commission),

 actively participated in these agency proceedings to explain its need for

 the additional natural gas transportation service on Tennessee Gas’s

 system. See id.; Consolidated Edison July 13, 2020 Motion to Intervene,

 R. 6, JA ____; see also infra Argument section II.A. (describing

 Consolidated Edison’s need for incremental service).

      B.    Environmental review

      Commission staff issued an Environmental Assessment in

 February 2021, and concluded that the project would not constitute a

 major federal action significantly affecting the quality of human

 environment, although it was unable to assess the significance of the

 project’s contribution to climate change. See R. 49; see also Certificate


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 Order P 32 (describing Environmental Assessment), JA ____-__. After a

 comment period, the Commission issued notice that it intended to

 prepare a more comprehensive environmental impact statement. See

 Certificate Order P 33-35, JA ____-__; see also Myersville, 783 F.3d at

 1322 (explaining that “[a]n agency may preliminarily prepare an

 Environmental Assessment ... to determine whether the more rigorous

 [Environmental Impact Statement] is required.”).

      The Commission staff issued the draft environmental impact

 statement in July 2021, R. 234, and the Final EIS in September 2021,

 receiving comments on both. See Certificate Order PP 33-35, JA ____-

 __. The Final EIS included the Environmental Assessment, in its

 entirety, as an appendix,2 and included its analysis and conclusions,

 with the exception of analysis and conclusions related to the Project’s

 impacts on climate change. See id. P 33, JA ____-__; Final EIS at ES-1

 & n.2, JA ____. The Final EIS addressed geology, soils, water resources,

 wetlands, vegetation, fisheries, wildlife, threatened and endangered

 species, land use, recreation, visual resources, socioeconomics,



      2Joint Appendix references herein to the Environmental
 Assessment will be to Appendix C, attached to the Final EIS.

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 environmental justice, cultural resources, air quality, noise, safety,

 cumulative impacts, and identified alternatives. See Certificate Order

 P 35, JA ____.

      The Final EIS, which included disclosure of greenhouse gas

 emissions associated with the combustion of natural gas to be

 transported by the Project, was intended to assist the Commission in its

 consideration of the Project’s contribution to climate change. See Final

 EIS at ES-1, 4 JA ____, ____. In particular, the Final EIS added an

 estimate of the downstream greenhouse gas emissions from the Project,

 assuming 100 percent utilization of the new capacity, to the analysis in

 the Environmental Assessment, which had quantified solely the

 Project’s construction and operation emissions. See Final EIS at 16-17,

 JA ____-__. The Final EIS was unable to identify a methodology to

 attribute discrete, quantifiable, physical effects on the environment

 resulting from these greenhouse gas emissions. See Final EIS at 17-18,

 20, JA ____-__, ____. It concluded that construction and operation of the

 project will result in adverse environmental impacts, but that these

 impacts would be avoided or minimized through mitigation measures.

 See id. P 34, JA ____-__. Project impacts would not be significant except


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 for the Project’s effect on climate change, the significance of which

 staff was unable to determine. See id.; Final EIS at ES-3, 55, JA ____,

 ____.

         C.   Challenged orders

         In April 2022, the Commission issued a certificate of public

 convenience and necessity to Tennessee Gas. See Certificate Order P 1,

 JA ____. All five Commissioners issued concurring statements. See id.

 p. 42, JA ____. Food & Water Watch requested rehearing, R. 395, which

 the Commission denied in October 2022. See Rehearing Order P 1,

 JA ____. Three Commissioners concurred with separate statements.

 See id. p. 25. No Commissioner dissented in either order.

         As relevant here, the Commission concluded that Tennessee Gas

 demonstrated need for the project pursuant to the Natural Gas Act,

 even after examining state policies setting targets for greenhouse gas

 emissions reductions. See Certificate Order PP 14-17, JA ____-__;

 Rehearing Order PP 15-17, JA ____-__. With regard to its

 environmental review under NEPA, the Commission concluded that

 upstream natural gas production is not an indirect effect within the

 meaning of NEPA because those impacts are not legally caused


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 by the Project, and the Project’s effects on natural gas production are

 not reasonably foreseeable. See Certificate Order PP 55-57, JA ____-__;

 Rehearing Order P 27, JA ____-__. The Commission considered and

 analyzed downstream ozone, including ozone precursors and

 ozone-related effects, but determined that formation of downstream

 ozone is not an indirect effect within the meaning of NEPA

 requiring quantification because localized ozone impacts

 are not reasonably foreseeable. See Rehearing Order PP 28-32, JA ____-

 __.

       Finally, the Commission quantified greenhouse gas emissions,

 compared them to state and national emissions, and included a

 qualitative discussion of the Project’s contribution to climate change.

 See Certificate Order PP 49-62, JA ____-__; Rehearing Order 33-37,

 JA ____-__. The Commission could not classify Project emissions as

 significant or not significant. See Certificate Order PP 54, JA ____-__;

 Rehearing Order P 35, JA ____. The Commission also estimated the

 social cost of greenhouse gas emissions associated with the Project, but

 did not rely on those estimates to determine environmental effects or




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 public interest. See Certificate Order P 60, JA ____; Rehearing Order

 P 36, JA ____.

                        Summary of Argument

      The Commission’s approval of the Tennessee Gas Project fully

 complied with the Natural Gas Act. Consistent with Commission policy

 and court precedent, the Commission properly found that the Project

 was in the public interest and that there was need for the Project based

 on Tennessee Gas’s contract with unaffiliated Consolidated Edison for

 all of the Project’s capacity. Food & Water Watch’s attempts to

 undercut these findings based on state and local policies fail because

 Consolidated Edison demonstrated compelling, service-based reasons

 for entering into the contract with Tennessee Gas.

      The Commission’s environmental analysis fully complied with its

 responsibilities under the National Environmental Policy Act. First,

 the Commission reasonably determined that claimed indirect effects

 related to upstream natural gas production are neither caused by the

 Project nor are they reasonably foreseeable. The Project will enable

 Consolidated Edison to access diverse natural gas supplies from

 expansive geographic locations across the country—including the


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 Marcellus, Utica, Gulf Coast, Appalachian, and Rockies supply areas—

 to delivery points along Tennessee Gas’s mainline 300 Line. Food &

 Water Watch is mistaken in presuming that natural gas supply for the

 Project will come entirely from local (Marcellus or Utica) production, or

 that Tennessee Gas can provide additional, meaningful information for

 the purpose of upstream analysis.

      Second, the Commission adequately evaluated downstream ozone-

 related indirect effects. As a reasonable proxy for ozone effects, the

 Commission quantified emissions of ozone precursors (nitrogen oxides

 and volatile organic compounds), discussed how those precursors are

 involved in ozone formation, and discussed the health effects associated

 with increased ozone. The Commission is not legally obligated to take

 the next, speculative step of quantifying the impacts of any increase in

 ozone.

      Finally, the Commission adequately addressed greenhouse gas

 emissions. The Commission (1) recognized that Project emissions would

 contribute incrementally to climate change; (2) qualitatively discussed

 climate change effects; (3) quantified Project greenhouse gas emissions,

 including emissions from downstream end-use; (4) compared those


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 emissions to state and national emissions, including comparison to state

 goals; and (5) disclosed estimates of the social costs of those emissions.

 Under relevant caselaw, this analysis qualifies as a reasonable proxy

 for assessing incremental greenhouse gas emissions. Having fully

 disclosed and considered Project greenhouse gas emissions, in its

 environmental impact statement and in its orders, the Commission was

 not obligated to characterize Project emissions as significant or

 insignificant.

                                 Argument

 I.   Standard of review

      This Court reviews Commission actions under the Administrative

 Procedure Act’s narrow “arbitrary and capricious” standard. 5 U.S.C.

 § 706(2)(A). Under that standard, the question is not “whether a

 regulatory decision is the best one possible or even whether it is better

 than the alternatives.” FERC v. Elec. Power Supply Ass’n, 577 U.S.

 260, 292 (2016). Rather, the reviewing court must uphold the

 Commission’s determination “if the agency has examined the relevant

 considerations and articulated a satisfactory explanation for its action,

 including a rational connection between the facts found and the choice


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 made.” Id. (cleaned up); see also FCC v. Prometheus Radio Project, 141

 S. Ct. 1150, 1158 (2021) (“deferential” arbitrary-and-capricious

 standard requires only that agency action “be reasonable and

 reasonably explained”).

      Because the grant or denial of a Natural Gas Act section 7

 certificate, 15 U.S.C. § 717f, is within the Commission’s informed

 discretion, the Court does not substitute its judgment for that of the

 Commission. See Myersville, 783 F.3d at 1308; see generally FPC v.

 Transcon. Gas Pipe Line Corp., 365 U.S. 1, 7 (1961) (explaining that the

 Commission is “the guardian of the public interest,” entrusted “with a

 wide range of discretionary authority”); Columbia Gas Transmission

 Corp. v. FERC, 750 F.2d 105, 112 (D.C. Cir. 1984) (explaining that the

 Commission is “vested with wide discretion to balance competing

 equities against the backdrop of the public interest”). The Commission

 has “broad discretion to invoke its expertise in balancing competing

 interests and drawing administrative lines.” Minisink, 762 F.3d at 111

 (citation omitted). The Court evaluates only whether the Commission

 considered relevant factors and whether there was a clear error of




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 judgment. Del. Riverkeeper Network v. FERC, 45 F.4th 104, 108 (D.C.

 Cir. 2022) (Adelphia) (citing Minisink, 762 F.3d at 106).

      The Administrative Procedure Act’s arbitrary and capricious

 standard also applies to challenges to FERC certificate decisions under

 the National Environmental Policy Act. See Del. Riverkeeper

 (Adelphia), 45 F.4th at 108; Food & Water Watch v. FERC, 28 F.4th

 277, 285 (D.C. Cir. 2022); Sierra Club (Sabal Trail), 867 F.3d at 1367

 (D.C. Cir. 2017). “[T]he court’s role is ‘simply to ensure that the agency

 has adequately considered and disclosed the environmental impact of

 its actions and that its decision is not arbitrary or capricious.’” Nat’l

 Comm. for the New River, Inc. v. FERC, 373 F.3d 1323, 1327 (D.C. Cir.

 2004) (quoting Baltimore Gas & Elec., 462 U.S. at 97-98). Agency

 actions taken pursuant to NEPA are entitled to a high degree of

 deference. Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 377-78 (1989).

 This Court evaluates agency compliance with NEPA under a “rule of

 reason” standard and has consistently declined to “flyspeck” the

 Commission’s analysis. Minisink, 762 F.3d at 112 (citations omitted).

 “[A]s long as the agency’s decision is ‘fully informed’ and ‘well-

 considered,’ it is entitled to judicial deference and a reviewing court


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 should not substitute its own policy judgment.” Nat. Res. Def. Council,

 Inc. v. Hodel, 865 F.2d 288, 294 (D.C. Cir. 1988) (quoting N. Slope

 Borough v. Andrus, 642 F.2d 589, 599 (D.C. Cir. 1980)).

       The Commission’s factual findings are conclusive if supported by

 substantial evidence. See 15 U.S.C. § 717r(b). The substantial evidence

 standard “‘requires more than a scintilla’ but ‘less than a

 preponderance’ of evidence.” S.C. Pub. Serv. Auth. v. FERC, 762 F.3d

 41, 54 (D.C. Cir. 2014) (quoting Fla. Gas Transm. Co. v. FERC, 604 F.3d

 636, 645 (D. C. Cir. 2010)). If the evidence is susceptible of more than

 one rational interpretation, the Court must uphold the agency’s

 findings. See Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 620 (1966);

 accord Fla. Gas Transm., 604 F.3d at 645 (“[W]e do not ask whether

 record evidence could support the petitioner’s view of the issue, but

 whether it supports the Commission’s ultimate decision.”).

 II.   The record supports the Commission’s Natural Gas Act
       finding of need.

       Food & Water Watch challenges the Commission’s Natural Gas

 Act determination of need for the Tennessee Gas Project. See Br. 48-56.

 It states the Commission ignored factors and erred by relying solely on

 Tennessee Gas’s contract with Consolidated Edison. See id. 50. Food &

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 Water Watch argues that the Commission should have looked at other

 factors, i.e. state policies setting targets for greenhouse gas emissions

 reductions (see id. 50-54) and New York City’s prohibition on natural

 gas connections for new and renovated buildings in New York City (see

 id. 54-56).

       These arguments fail. First, consistent with Commission policy

 and court precedent, the Commission correctly determined need based

 on Tennessee Gas’s contract with the unaffiliated Consolidated Edison

 for all of the capacity to be created by the Project. See Certificate Order

 P 17, JA ____-__; Rehearing Order P 17, JA ____-__. Second, in analysis

 largely ignored by Food & Water Watch, the Commission found that the

 record here demonstrates that Consolidated Edison had strong, service-

 based reasons for contracting for additional transportation service on

 Tennessee Gas’s system. See Certificate Order P 6 (description of

 Consolidated Edison’s filings), PP 14-17 (Commission’s analysis),

 JA ____-__, ____-__. Finally, the state and local factors emphasized by

 Food & Water Watch are insufficient to call the Commission’s analysis

 into doubt. See id. PP 14-17, JA ____-__; Rehearing Order PP 15-17,

 JA ____-__.


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      A.    The contract fully subscribing to Project capacity, in
            addition to Consolidated Edison’s explanations
            related to its ongoing service obligations, fully
            support the Commission’s finding of need.

      The Commission evaluated the need component of Tennessee

 Gas’s proposal under the Commission’s Certificate Policy Statement.

 See Certificate Order PP 12-13, JA ____-__; see also supra pp. 5-7

 (explaining Certificate Policy Statement). Tennessee Gas’s contract for

 all of the capacity on the Project with Consolidated Edison, especially in

 the absence of an affiliate relationship between the two contracting

 parties, was strong evidence of need. See Certificate Order P 15 (citing

 Consolidated Edison August 5, 2020 Comments at 3, R. 18, JA ____),

 JA ____. Precedent agreements showing that a project is fully (or

 substantially) subscribed are “adequate to support the finding of market

 need.” Myersville, 783 F.3d at 1311; see also Del. Riverkeeper

 (Adelphia), 45 F.4th at 114 (explaining that the Commission is “not

 ordinarily required to assess a project’s benefits by looking beyond the

 market need reflected by the applicant’s existing contracts with

 shippers”) (quotations removed); Sierra Club (Sabal Trail), 867 F.3d at

 1379 (stating that an applicant can establish market need by presenting

 precedent agreements). This Court has recognized that the

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 Commission’s Certificate Policy Statement “specifically recognizes that

 [precedent agreements] ‘always will be important evidence of demand

 for a project.’” Minisink, 762 F.3d at 111 n.10. And no court has

 reversed a Commission finding of need based on the subscription by

 unaffiliated entities to all of a proposed project’s capacity. Accordingly,

 even if the Commission had relied solely on Consolidated Edison’s

 contract with Tennessee Gas, the Commission’s determination would

 have been based on substantial evidence; would have been consistent

 with the Certificate Policy Statement and this court’s precedent; and

 would have been sufficient for this Court to affirm the Commission’s

 finding of need.

      In fact, evidence of need in this case goes well beyond the

 precedent agreement. Consolidated Edison explained that demand for

 natural gas has increased for various reasons in its service territory.

 See Certificate Order P 6 (citing Consolidated Edison August 5, 2020

 Comments at 3-4, JA ____-__; and Consolidated Edison December 21,

 2021 Answer at 4, 6, R. 386, JA ____, ____), JA ____-__. Although it has

 taken steps to address the increase in natural gas demand by

 implementing both demand- and supply-side controls, Consolidated


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 Edison has not been able to meet this increased demand. See id. (citing

 Consolidated Edison August 5, 2020 Comments at 3-4, JA ____-__).

      As a result of these challenges, Consolidated Edison has had to

 take unconventional steps to mitigate supply constraints. For example,

 it adopted a temporary moratorium on connecting gas service for new

 customers in most of Westchester County, with the goal of continuing

 service to its existing customers on the coldest winter days. See

 Certificate Order P 6 (citing Consolidated Edison August 5, 2020

 Comments at 4, JA ____), JA ____. In addition to these measures,

 Consolidated Edison arranged to truck compressed natural gas to its

 service area to meet peak winter demand. See id. (citing Consolidated

 Edison December 21, 2021 Comments at 4, JA ____).

      Given the various factors driving increased demand on

 Consolidated Edison’s distribution system—revitalization projects, new

 construction, and conversion of other (higher emitting) fuel sources to

 natural gas—the Commission’s determination of need is well-supported.

 See Certificate Order P 6 (citing Consolidated Edison August 5, 2020

 Comments at 3, JA ____), JA ____, P 17 (explaining that Consolidated

 Edison “has shown that natural gas demand in its service territories is


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 exceeding its available firm natural gas interstate pipeline capacity and

 that additional transportation capacity is needed to serve its existing

 and new customers”), JA ____. The Project will allow Consolidated

 Edison to (1) lift the moratorium in Westchester County; (2) supply gas

 to new customers who request it; and (3) cease trucked deliveries of

 compressed natural gas. See id. P 6 (citing Consolidated Edison August

 5, 2020 Comments at 2-4, JA ____-__, ____; Consolidated Edison

 December 21, 2021 Comments at 4, 6, JA ____, ____; and Tennessee Gas

 August 23, 2021 Comments at 2-3, JA ____-__), JA ____. All this is

 more than enough to demonstrate need for the Project.

      B.    The Commission considered the Climate Act and
            reasonably concluded that it did not undermine its
            need determination.

      None of the above analysis of need is addressed, let alone

 challenged, by Food & Water Watch in its opening brief. Rather, Food

 & Water Watch asserts that the Commission “failed to consider” the

 New York State Climate Leadership and Community Protection Act,

 N.Y. Sess. Laws ch. 106 (McKinney) (Climate Act). See Br. 50-54. The

 record demonstrates otherwise. See Certificate Order P 17 (considering




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 implications of Climate Act on need determination), JA ____; Rehearing

 Order PP 15-17 (same), JA ____-__.

      The Climate Act sets targets for forward-looking reductions on

 New York state greenhouse gas emissions and goals for electricity

 generation from renewable energy sources. See Rehearing Order P 16

 (citing N.Y. Pub. Serv. Law § 66-p), JA ____. But it “does not ban

 [Consolidated Edison] from providing natural gas to meet end-use

 demand.” Certificate Order P 17, JA ____. Moreover, the Act does not

 prescribe methods or means for achieving its targets and goals. See

 Rehearing Order P 16, JA ____. Rather, a body created by the Act, the

 Climate Action Council, “will develop a plan to assist New York with

 meeting the goals of the Act, including potential alternative compliance

 methods that would result in zero net emissions.” Id. P 16 (citing N.Y.

 Envtl. Conserv. Law § 75-0103); see also Indep. Power Producers of

 N.Y., Inc. v. FERC, No. 21-1166, 2022 WL 3210362, at *1 (D.C. Cir.

 Aug. 9, 2022) (unpublished) (explaining that the Climate Act requires,

 among other things, that the New York Commission “introduce

 regulations to ensure that, by 2040, the consumption of electricity

 throughout the State will produce zero carbon emissions”).


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      Even after considering the Climate Act, the Commission

 continued to find that the Project was needed, citing the fact that the

 new capacity is entirely subscribed by Consolidated Edison and that it

 will enable Consolidated Edison to supply new customers and end

 trucked compressed natural gas to satisfy peak winter demand. See

 Rehearing Order P 17, JA ____. As noted by the New York Commission,

 moratoria such as the one Consolidated Edison adopted in Westchester

 County can lead to customer hardships and can actually thwart climate

 change policy goals when use of alternatives to natural gas result in

 even more greenhouse gas emissions. See Certificate Order P 6 n.8

 (citing Tennessee Gas August 23, 2021 Comments at 2-3, JA ____-__),

 JA ____. Moreover, as explained by Consolidated Edison, the Climate

 Act commitments “do not alter [Consolidated Edison’s] obligation to

 serve those customers that request gas service.” Consolidated Edison

 December 21, 2021 Comments at 8-9 (citing New York Commission

 orders and New York state statutory provisions), JA ____-__.




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      C.    Food & Water Watch failed to properly raise an
            argument with regard to New York City’s prohibition
            of new gas connections; even if it had, that argument
            would be unavailing.

      Food & Water Watch’s citation to New York City’s prohibition of

 new gas connections is unavailing, both procedurally and substantively.

 See Br. 54-56. First, the argument is procedurally barred because Food

 & Water Watch failed to list it in its statement of issues to its agency

 rehearing request. See 18 C.F.R. § 385.713(c)(2) (specifying that any

 issue not listed in the required Statement of Issues, where “each issue

 [is listed] in a separately enumerated paragraph,” “will be deemed

 waived”); Food & Water Watch Rehearing Request at 3 (section

 containing list of issues but omitting any reference to New York City

 prohibition), R. 397, JA ____. Moreover, the brief reference to the New

 York City prohibition, hidden in a section of the rehearing request that

 addresses the Climate Act, fails to satisfy the strict exhaustion

 requirements of the Natural Gas Act, 15 U.S.C. § 717r(b). See Ameren

 Servs. Co. v. FERC, 893 F.3d 786, 793 (D.C. Cir. 2018) (petitioner must

 raise issues with sufficient specificity to “alert[] the Commission to the

 legal arguments they now raise on judicial review”) (quotation omitted);

 see also United Power, Inc. v. FERC, 49 F.4th 554, 559 (D.C. Cir. 2022)

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 (“Because we construe these statutory limitations upon our jurisdiction

 strictly, a single opaque sentence does not suffice, nor does raising a

 particular argument only in a general way.”) (cleaned up). Unlike Food

 & Water Watch’s brief before this Court, where the Climate Act and the

 New York City prohibition are treated in separate, clearly labeled

 subsections (see Br. 50-56), Food & Water Watch referred below to the

 prohibition in a section that solely referred to the Climate Act (see Food

 & Water Watch Rehearing Request at 4-6, JA ____-__).

      Second, the Commission “looks with disfavor” on parties raising

 new issues on rehearing. See Transcon. Gas Pipe Line Co., 161 FERC

 ¶ 61,250 P 58 (2017) (citing Baltimore Gas & Elec. Co., 91 FERC

 ¶ 61,270, at 61,922 (2000)). This is so because Commission rules (18

 C.F.R. § 385.713(d)) do not permit responses to requests for agency

 rehearing. See Transcon. Gas, 161 FERC ¶ 61,250 P 58; see also, e.g.,

 Nw. Pipeline, LLC, 157 FERC ¶ 61,093 P 27 (2016) (dismissing

 argument raised for the first time on rehearing and noting that the

 “Commission looks with disfavor on parties raising issues for the first

 time on rehearing that should have been raised earlier, particularly

 during NEPA scoping, in part, because other parties are not permitted


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 to respond to requests for rehearing”); PJM Interconnection, L.L.C., 126

 FERC ¶ 61,030 P 15 & n.10 (2009) (“The Commission has held that

 raising issues for the first time on rehearing is disruptive to the

 administrative process and denies parties the opportunity to respond.”).

 Food & Water Watch acknowledges that the New York City prohibition

 occurred before the Commission issued its Certificate Order. See Br. 54.

 It did not have to await agency rehearing.

      Regardless, there are several flaws in Food & Water Watch’s late

 argument. First, the prohibition applies to New York City. As

 discussed, the Project is designed to alleviate supply constraints, not in

 New York City (where the municipal prohibition exists), but in

 Westchester County (where the Consolidated Edison-adopted service

 moratorium exists). See Certificate Order P 6, JA ____. Food & Water

 Watch has failed to demonstrate that the New York City prohibition

 will affect supply constraints in Westchester County.

      In addition, Consolidated Edison’s retail rates and services are

 regulated by the New York Commission. See Consolidated Edison

 August 5, 2020 Comments at 1-2, JA ____-__. Here, the record evidence

 demonstrates that the New York Commission recognizes the harm that


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 can result from moratoria such as the one imposed in Westchester

 County. See Tennessee Gas August 23, 2021 Comments at 2-3 (citing

 New York Commission Order Instituting Proceeding, No. 20-G-0131

 (Mar. 19, 2020)3 (New York Commission Order)), R. 369, JA ____-__; see

 also Certificate Order P 6 n.8 (citing Tennessee’s August 23, 2021

 Comments), JA ____. Indeed, in the order cited by Tennessee Gas, the

 New York Commission recognized these hardships in a paragraph

 immediately following its discussion of the Climate Act. See New York

 Commission Order at 2-3 (explaining that natural gas planning “must

 be conducted in a manner consistent” with the Climate Act and that

 “[m]oratoria can create adverse customer impacts”). Striking the right

 balance between hardship associated with supply constraints (ignored

 by Food & Water Watch) and consistency with goals set forth in the

 Climate Act (solely emphasized to the exclusion of everything else by

 Food & Water Watch) is a task appropriately addressed by the New

 York Commission, which has regulatory authority over Consolidated




      3  The New York Commission Order can be accessed at:
 https://documents.dps.ny.gov/public/Common/ViewDoc.aspx?DocRefId={
 2BE6F1CE-5F37-4A1A-A2C0-C01740962B3C}

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 Edison. See Consolidated Edison August 5, 2020 Comments at 5 n.6

 (explaining that “recent [New York Commission] actions regarding gas

 moratoriums within New York reinforce our obligation to

 provide customers energy service options, including natural gas”),

 JA ____.

 III. The Commission complied with all environmental
      responsibilities under NEPA.

      NEPA requires that agencies prepare, as part of every “major

 Federal action [] significantly affecting the quality of the human

 environment,” a “detailed statement” discussing and disclosing the

 environmental impact of the action. Sierra Club (Sabal Trail), 867 F.3d

 at 1367 (quoting 42 U.S.C. § 4332(2)(C)). In reviewing an agency’s

 NEPA compliance, the Court’s mandate is “simply to ensure that the

 agency has adequately considered and disclosed the environmental

 impact of its actions and that its decision is not arbitrary and

 capricious.” Id. (quoting WildEarth Guardians v. Jewell, 738 F.3d 298,

 308 (D.C. Cir. 2013)).




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      A.    The Commission correctly determined that effects
            related to upstream natural gas production are not
            Project indirect effects under NEPA.

      Food & Water Watch asserts that the Commission failed to

 consider reasonably foreseeable indirect and cumulative upstream

 effects related to natural gas production. See Br. 29-39.4 However, the

 Commission reasonably concluded that upstream natural gas

 production-related effects are not indirect effects of the Project as

 defined by NEPA, because effects related to natural gas production are

 generally neither caused by a proposed pipeline project nor the

 reasonably foreseeable consequences of a Commission-approved

 infrastructure project. See Certificate Order PP 55-57 (citing Cent. New

 York Oil & Gas Co., LLC, 137 FERC ¶ 61,121 PP 81-101 (2011), order

 on reh’g, 138 FERC ¶ 61,104 PP 33-49 (2012), petition for review



      4  In its brief, Food & Water Watch sometimes refers to cumulative
 effects when addressing indirect effects. See, e.g., Br. 26. However,
 Food & Water Watch does not make any argument on review that is
 particular to cumulative, as opposed to indirect, effects. And it omitted
 any reference to cumulative effects in its request for agency rehearing.
 See Food & Water Watch Rehearing Request at 9-16 (addressing
 indirect effects), JA ____-__. Therefore, Food & Water Watch has
 waived any argument based on cumulative effects alone. See 15 U.S.C.
 § 717r((b); see also, e.g., Del. Riverkeeper (Adelphia), 45 F.4th at 111
 (explaining that 15 U.S.C. § 717r requires specificity of argument).

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 dismissed sub nom. Coal. for Responsible Growth v. FERC, 485 F.

 App’x. 472, 474-75 (2d Cir. 2012) (unpublished opinion); and Adelphia

 Gateway, LLC, 169 FERC ¶ 61,220 P 243 (2019), order on reh’g, 171

 FERC ¶ 61,049 P 89 (2020), aff’d Delaware Riverkeeper (Adelphia)),

 JA ____-__; Rehearing Order P 27 (same), JA ____-__.

       Council on Environmental Quality regulations address

 consideration of indirect effects. See 40 C.F.R. § 1502.16

 (environmental consequences); 40 C.F.R. § 1508.1(g)(1), (2) (defining

 effects to include direct effects and indirect effects); Dep’t of Transp. v.

 Pub. Citizen, 541 U.S. 752 (2004); Metro. Edison Co. v. People Against

 Nuclear Energy, 460 U.S. 766 (1983); see also Certificate Order P 56

 (citing Pub. Citizen and Metro. Edison), JA ____; Rehearing Order P 26

 (same), JA ____. Indirect effects are “caused by the action and are later

 in time or farther removed in distance, but are still reasonably

 foreseeable.” 40 C.F.R. § 1508.1(g)(2). Causation requires a reasonably

 close connection; a “but for” cause is insufficient. See Pub. Citizen, 541

 U.S. at 767. The effect cannot be too attenuated; if the agency has no

 ability to prevent it, the agency action cannot be a legally relevant

 cause. See id. at 770. An impact is reasonably foreseeable if it is


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 “sufficiently likely to occur that a person of ordinary prudence would

 take it into account in reaching a decision.” EarthReports, Inc. v.

 FERC, 828 F.3d 949, 955 (D.C. Cir. 2016) (citations omitted); see also

 Sierra Club v. Marsh, 976 F.2d 763, 767 (1st Cir. 1992).

      Although NEPA requires “reasonable forecasting,” an agency is

 not required “to engage in speculative analysis” or “to do the

 impractical, if not enough information is available to permit meaningful

 consideration.” N. Plains Res. Council v. Surface Transp. Bd., 668 F.3d

 1067, 1078-79 (9th Cir. 2011); see also Sierra Club v. Dep’t of Energy,

 867 F.3d 189, 198 (D.C. Cir. 2017) (noting that “reasonable [is] the

 operative word” under NEPA). This court has affirmed the

 Commission’s “reasoned conclusion” that upstream effects on gas

 production were not reasonably foreseeable. Del. Riverkeeper

 (Adelphia), 45 F.4th at 109; Birckhead v. FERC, 925 F.3d 510, 517 (D.C.

 Cir. 2019).

               1.   There is no causal link between the
                    Commission’s approval of the Project and
                    increased natural gas production.

      The Commission correctly determined that there is no causal link

 between natural gas production and the Project. See Certificate Order


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 P 57 (explaining that the specific source of natural gas to be transported

 by the Project is currently unknown and may change throughout the

 Project’s operation), JA ____-__; Rehearing Order P 27 (same), JA ____-

 __. This Court has accepted the Commission’s decision not to consider

 upstream natural gas production when the record lacks sufficient

 information necessary to establish a causal relationship between the

 pipeline project and natural gas production. See Birckhead, 925 F.3d at

 516-18.

       Food & Water Watch fails to address causation, and any attempt

 to do so on reply will be too late. See INEOS USA LLC v. FERC, 940

 F.3d 1326, 1329 (D.C. Cir. 2019) (observing that petitioner failed to

 make argument in opening brief and that “arguments made for first

 time in a Reply Brief are generally forfeited”); City of Nephi, Utah v.

 FERC, 147 F.3d 929, 933 n.9 (D.C. Cir. 1998) (finding forfeiture where

 petitioner “did not challenge the Commission’s rejection of . . . argument

 until its reply brief”).

       In Birckhead, the Court found no support for the allegation that

 the project was a necessary condition for the producer/shipper to bring

 its natural gas to market. 925 F.3d at 517. The same can be said here.


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 See Cent. New York Oil & Gas Co., LLC, 137 FERC ¶ 61,121 P 91 (2011)

 (observing that Marcellus Shale development will continue in

 Pennsylvania regardless of the project; if not approved, “producers or

 developers of unregulated ‘midstream’ gathering assets will simply

 build longer gathering lines to connect wells in the three-county area to

 interstate pipelines, with no Commission regulation or NEPA

 oversight”); Certificate Order P 57 n.122 (citing Cent. New York orders),

 JA ____-__; Rehearing Order P 27 n.71 (same), JA ____.

      To the extent causation could have been established in Birckhead

 (which it was not), causation is even more attenuated here. In

 Birckhead, unlike here, the shipper was a natural gas producer. See

 Birckhead, 25 F.3d at 517. Here, the shipper, Consolidated Edison, is a

 local distribution company that can obtain natural gas supplies through

 interconnections with several interstate pipelines that connect with

 Tennessee Gas in its zone 4. See Rehearing Order P 27 n.74, JA ____.

 Here, access to these interstate pipelines permits Consolidated Edison

 to contract for supplies that may be sourced anywhere in the Marcellus,

 Utica, Gulf Coast, Appalachian, and Rockies supply areas. See id. P 27,

 JA ____-__. Accordingly, as in Birckhead, Food & Water Watch has not


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 demonstrated that any particular production would not occur in the

 absence of the Project. See Birckhead, 925 F.3d at 517; see also Del.

 Riverkeeper (Adelphia), 45 F.4th at 109 (finding no evidence that

 production would occur only if project was approved); Certificate Order

 P 57 (finding lack of causation because the source of natural gas to be

 transported by the Project is unknown and “may change throughout the

 [P]roject’s operation”), JA ____; Rehearing Order P 27 (same), JA ____.

 did not go forward).

            2.    Any upstream production effects from the
                  Project are not reasonably foreseeable.

      Employing “common sense” and its notion of “simple cause and

 effect,” Food & Water Watch presumes that increased upstream

 production is reasonably foreseeable. See Br. 30. However, this Court

 has already rejected that presumption. See Del. Riverkeeper (Adelphia),

 45 F.4th at 109 (reviewing and affirming Adelphia Gateway, LLC, 169

 FERC ¶ 61,220 (2019), order on reh’g, 171 FERC ¶ 61,049 (2020)); see

 also Certificate Order P 57 n.122 (citing analysis in Adelphia orders),

 JA ____; Rehearing Order P 27 n.71 (same), JA ____.

      This Court has rejected arguments similar to Food & Water

 Watch’s, explaining that simply pointing to the location of active,

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 proposed, and reported natural gas wells in Pennsylvania “do[es] not

 explain how that location data supports an inference that more wells

 will be needed to support increased demand spurred by the Project.”

 Del. Riverkeeper (Adelphia), 45 F.4th at 109. Here, Food & Water

 Watch provides a graph that shows declining “barrels” over time. See

 Br. 30. But, given the access to broad supply locations provided by the

 Project, none of this information provided by a declining production

 curve would help the Commission identify the source of the natural gas.

 See Rehearing Order P 27, JA ____-__.

      As the Commission previously explained, “where there is not even

 an identified general supply area for the gas that will be transported on

 the project, any analysis of production impacts would be so generalized

 it would be meaningless.” Adelphia Gateway, 169 FERC ¶ 61,220 P 243

 (citing Sierra Club v. Dep’t of Energy, 867 F.3d at 200); see also

 Certificate Order P 57 n.122 (citing Adelphia order), JA ____; Rehearing

 Order P 27 n.71 (same), JA ____. For example, without knowing when,

 where, and how production development will occur, it is impossible to

 know “what the associated infrastructure and related facilities may be

 for those wells ultimately drilled.” Cent. New York Oil & Gas, 138


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 FERC ¶ 61,104 P 48; see also Certificate Order P 57 n.122 (citing Cent.

 New York order), JA ____; Rehearing Order P 27 n.71 (same).

       The specific source of natural gas to be transported by the Project

 is “currently unknown and may change throughout the [P]roject’s

 operation.” Rehearing Order P 27, JA ____-__. Accordingly, the

 Commission rejected Food & Water Watch’s assertion that the natural

 gas for the project would come directly from the Marcellus and Utica

 supply areas, explaining that the assertion is “inconsistent with

 Tennessee’s explanation of the production areas that already serve Line

 300.” Rehearing Order P 27, JA ____.

       Nothing is known about the location and number of wells because

 shippers on Tennessee’s Line 300 (such as Consolidated Edison) can

 “access diversified natural gas supplies from the Marcellus, Utica, Gulf

 Coast, Appalachian, and Rockies supply areas to delivery points along

 Tennessee’s mainline system.” Id.; see also Tennessee Gas Pipeline Co.,

 131 FERC ¶ 61,140 P 18 (2010) (explaining, in earlier proceeding, that

 improvements to Tennessee Gas’s 300 Line System “will help alleviate

 pipeline constraints . . . by increasing pipeline capacity . . . [and by]

 providing access to diversified natural gas supplies from the Gulf Coast,


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 Appalachian, Rockies, and Marcellus Shale supply areas”); see also

 Rehearing Order P 27 n.74 (citing Tennessee Gas’s earlier application

 and Tennessee Gas Pipeline, 131 FERC ¶ 61,140 ), JA ____. The court

 in Birckhead similarly found that the record contained “no record

 evidence that would help the Commission predict the number and

 location of any additional wells that would be drilled as a result of

 production demand created by the Project.” 925 F.3d at 517.

      Contrary to Food & Water Watch’s assertions (see Br. 36-39), the

 Commission did not have an obligation to ask for additional information

 where to do so would not add meaningful new information to the record.

 See Rehearing Order P 27 (explaining that additional information

 would not be helpful when the specific source of natural gas is currently

 unknown and may change and when pipeline can access diversified

 natural gas supplies, across the country, from the Marcellus, Utica,

 Gulf Coast, Appalachian, and Rockies supply areas), JA _____; see

 also Sierra Club v. Dep’t of Energy, 867 F.3d at 199 (agency is not

 required to “foresee the unforeseeable”) (quoting Scientists’ Inst. for

 Pub. Info., Inc. v. Atomic Energy Comm’n, 481 F.2d 1079, 1092 (D.C.

 Cir. 1973)).


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      Food & Water Watch assumes that Project gas will come “directly

 from the Marcellus and Utica supply areas” in the mid-Atlantic

 production region, relatively close to its members. Rehearing Order

 P 27, JA ____. But, as Tennessee Gas explained to the Commission

 here, Consolidated Edison’s contract with Tennessee Gas provides that

 natural gas will first enter Tennessee Gas’s interstate system at its

 zone 4, which is depicted in the following map:




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 See Rehearing Order P 27 n.74 (referring to Tennessee Gas zone 4),

 JA ____. (The web link to the above map5 is stated in Tennessee Gas’s

 FERC tariff. See Tennessee Gas Tariff, Sixth Revised Volume No. 1,

 Sheet No. 5.) As the map depicts, Tennessee Gas receives natural gas

 in zone 4 from an expanse of pipeline spanning from Pennsylvania to

 Ohio, which connects to additional interstate pipelines along the way.

 Accordingly, it is simply not correct that supply for the Project will

 necessarily come from the Marcellus and Utica supply regions.

      The court in Food & Water Watch, as in Birckhead, expressed

 concern about the Commission’s determination that seeking additional

 information would not be helpful. See Food & Water Watch, 28 F.4th at

 286 (citing Birckhead, 925 F.3d at 519). Although Food & Water Watch

 argues (at 36-39) that the Commission should have asked for more

 information in this case, that argument is unavailing here because the

 [P]roject configuration shows that asking for additional information

 would not result in the information necessary to assess whether or how

 the project might induce upstream environmental impacts. See



      5  The map can be accessed at:
 http://pipeline2.kindermorgan.com/default.aspx?code=TGP

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 Rehearing Order P 27, JA ____. Like in Del. Riverkeeper (Adelphia),

 Tennessee “will receive gas from other interstate pipelines.” 45 F.4th at

 109; see also Rehearing Order P 27 (describing diverse supply regions),

 JA ____-__. Natural gas production, where “every natural gas-

 producing region in the country is a potential source,” is not a

 reasonably foreseeable indirect impact. Sierra Club v. Dep’t of Energy,

 867 F.3d at 199; see also Final EIS at 28 (listing unknown factors

 related to upstream production: the location of the supply source;

 whether transported gas will come from new or existing production; and

 whether there will be any potential associated development activities,

 and if so, the location of those activities), JA ____.

       Given that the configuration of Tennessee Gas’s interstate

 pipeline system enables the transportation of natural gas sourced from

 diverse geographic regions (as far away the Gulf Coast and Rockies

 supply areas), the Commission sensibly declined to ask for additional

 information because doing so “would not provide meaningful

 information.” Rehearing Order P 27 n.74, JA ___-__; see also Sierra

 Club v. Dep’t of Energy, 867 F.3d at 199 (explaining that production-

 related effects were not reasonably foreseeable given that (1) the


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 “interconnected pipeline system” means that “every natural-gas-

 producing region in the country is a potential source for new gas wells;”

 and (2) production-related effects are local in nature); see also Del.

 Riverkeeper (Adelphia), 45 F.4th at 109 (describing Commission’s

 reasoning that upstream production is not an indirect effect because the

 project will receive gas from other interstate pipelines).

      B.    The Commission’s evaluation of downstream indirect
            ozone effects fully complied with NEPA.

      Food & Water Watch argues that the Commission failed to

 consider reasonably foreseeable downstream ozone air pollution. See

 Br. 39-44. However, the Commission’s evaluation of ozone emissions

 associated with downstream consumption fully complied with its NEPA

 responsibilities because localized effects due to potential increases in

 ozone and other pollutants in Westchester County are too uncertain to

 be reasonably foreseeable. See Rehearing Order PP 28-32, JA ____-__.

      Ozone is formed by a combination of sunlight and ozone

 precursors—nitrogen oxides and various volatile organic compounds,

 which are released when gas is combusted. See Rehearing Order 29,

 JA ____. Because the combustion of natural gas releases ozone

 precursors, “all else equal, in [the] absence of any offsets, including

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 substitution of downstream fuel oil, an increase in natural gas

 combustion in the region will likely lead to some increase in ozone

 pollution.” Id.

      Recognizing this relationship, the Commission estimated the

 contribution of the Project to ozone precursors, finding that the Project

 would increase nitrogen oxide emissions by 0.69 to 1.62 percent and

 volatile organic compounds by 0.05 percent. See Rehearing Order P 30

 n.85, JA ____. Food & Water Watch is wrong to refer to these estimates

 as improper “post hoc” (Br. 42) because an agency may augment its staff

 environmental review in its later orders. See Nat. Res. Def. Council v.

 U.S. Nuclear Regulatory Comm’n, 879 F.3d 1202, 1210-12 (D.C. Cir.

 2018) (citing Friends of the River v. FERC, 720 F.2d 93, 97, 105-08 (D.C.

 Cir. 1983)); Sierra Club v. Dep’t of Energy, 867 F.3d at 197.

      The Commission discussed the health effects associated with

 increased concentrations of ozone. See Rehearing Order P 29 n.80

 (citing Annova LNG Common Infrastructure, LLC, 170 FERC ¶ 61,140

 (2020), JA ____; Environmental Assessment at 54-55 (explaining

 development of National Ambient Air Quality standards), JA ____-__),

 JA ____; see also id. n.80 (explaining that exposure to increased ozone


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 levels could “cause a number of health effects, such as decreased lung

 function and airway inflammation[,] respiratory symptoms including

 coughing, throat irrigation, chest tightness, wheezing, and shortness of

 breath”), JA ____; Final EIS at 54-55 (describing National Ambient Air

 Quality Standards that are “considered to be protective of human

 health and welfare, including sensitive populations such as children,

 the elderly, and asthmatics”), JA ____-__.

      Food & Water Watch insists that the Commission do more, i.e.

 convert the quantified emissions of ozone precursors into quantified

 ozone. See Br. 42. But the Commission was not required to quantify

 ozone effects related to downstream end-use because “the localized

 impacts due to potential increases in ozone and other pollutants in

 Westchester County are too uncertain.” Rehearing Order P 29, JA ____.

 The Commission reasonably explained why doing so would only add to

 speculation, resulting in numbers that would neither be helpful to the

 agency, nor helpful to the public. See id. PP 31-32, JA ____-__.

      Where there are multiple emitters, quantifying ozone by

 translating ozone precursors to ozone would require the Commission to

 engage in conjecture. See Rehearing Order P 30 n.86, JA ____-__. Here,


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 the natural gas will be consumed by a combination of commercial,

 industrial, and residential users, with the different types of combustion

 resulting in significantly different amounts of ozone precursor

 emissions. Id., JA ____-__.

       Moreover, translating the precursors to ozone requires a second

 level of speculation, i.e., complex regional photochemical modeling that

 considers seasonal differences and atmospheric conditions, in addition

 to existing emissions. See Rehearing Order P 31, JA ____. See id. All

 this results in something “well beyond the sort of ‘reasonable

 forecasting and speculation’ that NEPA requires.” Id. (quoting Sierra

 Club v. Dep’t of Energy, 867 F.3d at 198); see also Sierra Club v. Dep’t of

 Energy, 867 F.3d at 198 (“reasonable being the operative word”); Coal.

 on Sensible Transp., Inc. v. Dole, 826 F.2d 60, 66 (D.C. Cir. 1987)

 (explaining that the “NEPA process involves an almost endless series of

 judgment calls” and that the “line-drawing decisions necessitated by

 this fact of life are vested in the agencies, not the courts”).

       This Court has approved quantification of ozone precursors as a

 reasonable proxy for ozone impacts. See WildEarth, 738 F.3d at 312; see

 also Rehearing Order P 30 n.85, P 31 n.92, P 32 n.94 (citing WildEarth),


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 JA ____-__. In particular, NEPA does not require an agency to

 separately model a project’s effects on local ozone levels when

 discussion of ozone precursors otherwise addresses ozone impacts. See

 WildEarth, 738 F.3d at 312.

      That conclusion is consistent with the Court’s holding that

 downstream greenhouse gas emissions can be reasonably foreseeable

 where the end use is known. See Del. Riverkeeper (Adelphia), 45 F.4th

 at 110; Food & Water Watch, 28 F.4th at 288-89 (“[F]oreseeability

 depends on information about the destination and end use of the gas in

 question.”) (quotation omitted); Sierra Club (Sabal Trail), 867 F.3d at

 1374-75. The distinction between the two is explained by the fact that

 estimating ozone precursors is much more complex and speculative

 than estimating greenhouse gas emissions, as the latter can be done

 using straightforward arithmetic (i.e., quantity of natural gas burned

 multiplied by the relevant conversation factor) whereas the former

 requires layer upon layer of different assumptions. See Rehearing

 Order P 32, JA ____.

      As in WildEarth, Food & Water Watch’s objections “boil down to a

 dispute about the adequacy of using projected emissions of ozone


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 precursors . . . as proxies by which to analyze the impact of future ozone

 levels.” 738 F.3d at 311. WildEarth found that the agency, by including

 a discussion of ozone precursors, had satisfied its NEPA obligations

 “given the critical role [nitrogen oxides] play[] in ozone formation.” 738

 F.3d at 312. The same is true here.

      In addition, estimating the increase in ozone could “potentially

 introduce errors” and would render uncertain results because the

 analysis requires two levels of conjecture. Rehearing Order P 30,

 JA ____. As noted above, the Commission would first need to speculate

 about how the natural gas is consumed. See id.; see also Del.

 Riverkeeper (Adelphia), 45 F.4th at 110 (recognizing that there will

 “inevitably be some limits on the foreseeability of emissions”). Second,

 the Commission would need to speculate further about the conditions

 under which the precursors interact with the atmosphere. See

 Rehearing Order P 30, JA ____. Such calculations would be of limited

 use to the Commission and the public because, unlike greenhouse gas

 emissions, emissions of ozone precursors vary depending on how the gas

 is used. See id.




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      Food & Water Watch’s remaining arguments were not raised in its

 agency rehearing request, and thus were not preserved for judicial

 review. See 15 U.S.C. § 717r(b) (“No objection to the order of the

 Commission shall be considered by the court unless such objection shall

 have been urged before the Commission in the application for rehearing

 unless there is reasonable ground for failure so to do.”); see also supra

 pp. 28-29 (cases requiring specificity of argument).

      These include arguments that the Commission should have relied

 on a particular tool for modeling ozone (see Br. 42) and that the

 Commission erred by failing to address how the Project would be

 consistent with New York State’s efforts to comply with the Clean Air

 Act (see id. 43). See Food & Water Watch, 28 F.4th at 287 (explaining

 similar failure to preserve). In any event, the Final EIS addressed

 conformity with the Clean Air Act, and concluded that the Project is not

 subject to Clean Air Act general conformity requirements. See

 Environmental Assessment at 58-59, JA ____-__.

      C.    The Commission’s discussion of the significance of
            greenhouse gas emissions fully complied with NEPA.

      Food & Water Watch asserts that the Commission erred by failing

 to consider the significance of the effects related to the Project’s direct

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 and indirect greenhouse gas emissions. See Br. 44-49. This misreads

 the Commission’s orders. See Certificate Order PP 49-62 (considering

 the significance of greenhouse gas emissions), JA ____-__; Rehearing

 Order PP 33-37 (same), JA ____-__.

      Food & Water Watch’s arguments conflate making a significance

 determination with considering significance. NEPA requires the

 Commission to discuss the environmental impact of any action

 “significantly” affecting the quality of the human environment. 42

 U.S.C. § 4332(2)(C); Env’t Health Tr. v. FCC, 9 F.4th 893, 900 (D.C. Cir.

 2021) (explaining that agency must prepare an environmental impact

 statement “[i]f” the action stands to “significantly” effect the

 environment) (quoting 42 U.S.C. § 4332(c)); see also 40 C.F.R. § 1502.3

 (requiring environmental impact statements for actions that

 “significantly” affect the environment). Council on Environmental

 Quality regulations require that the environmental impact statement

 address the environmental consequences of the action, which includes,

 as relevant here, the “environmental impacts of the proposed action”

 and the “significance of those impacts.” 40 C.F.R. § 1502.16(a)(1).




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      A significance determination, as opposed to a discussion of

 significance, only has relevance when determining the appropriate level

 of NEPA review, i.e. whether to prepare an environmental assessment

 or a more comprehensive environmental impact statement. See Food &

 Water Watch, 28 F.4th at 289 (explaining that “determining the

 ‘significance’ of expected environmental impacts of an action is an

 integral part of an environmental assessment); 40 C.F.R. § 1501.3(a)(2),

 (3); see also Myersville, 783 F.3d at 1322 (explaining that an

 environmental impact statement is unnecessary if an agency makes a

 “finding of no significant impact”).

      But here, the Commission issued the more comprehensive

 environmental impact statement; thus, there is no question about

 whether the Commission chose the correct NEPA procedure. See

 Certificate Order PP 33-35 (explaining that, after issuing

 Environmental Assessment, Commission staff issued the draft

 environmental impact statement and the Final EIS), JA ____-__; Notice

 of Intent to Prepare an Environmental Impact Statement (May 27,

 2021) (“The EIS will assist the Commission in its consideration of the

 Project’s contribution to climate change and its decision-making process


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 to determine whether Tennessee’s proposed Project is in the public

 convenience and necessity.”), R. 231, JA ____.

      The Commission reasonably declined to determine significance

 because it could not identify a methodology for doing so. See Certificate

 Order P 67, JA ____; Rehearing Order P 34, JA ____; Final EIS at 20,

 JA ____. Where there is no “workable alternative method” of assessing

 significance of climate impacts, Food & Water Watch’s argument fails.

 Food & Water Watch, 28 F.4th at 290.

      In addition, there is an ongoing proceeding before the agency to

 determine whether and how the Commission will conduct significance

 determinations going forward. See Rehearing Order P 37 (citing

 Consideration of Greenhouse Gas Emissions in Nat. Gas Infrastructure

 Project Reviews, Interim Policy Statement, 178 FERC ¶ 61,108 (2022),

 changed to draft status, Order on Draft Policy Statements, 178 FERC

 ¶ 61,197 (2022)), JA ____-__.

      In any case, the Commission thoroughly discussed the greenhouse

 gas emissions associated with the Tennessee Gas Project. The

 Commission began by quantifying the reasonably foreseeable

 greenhouse gas emissions associated with construction and operation of


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 the Project, including emissions associated with downstream

 consumption. See Certificate Order PP 50-51, 54, JA ____-__, ____;

 Final EIS at 17, 25, JA ____, ____. For the reasons discussed (see supra

 section III.B), the Commission did not include emissions associated with

 upstream production. See Certificate Order P 55-57, JA ____-__; Final

 EIS at 27-28 (explaining that the “specific sources of natural gas to be

 transported by the Project are unknown and would likely change

 throughout the Project’s operational lifetime), JA ____.

      The Commission did not stop with the numbers. The Commission

 compared the calculated greenhouse gas emissions to national and state

 (Pennsylvania, New Jersey, and New York) emissions as a reasonable

 proxy for assessing climate change effects. See Certificate Order P 54,

 JA ____; Rehearing Order P 35, JA ____; Final EIS at 18-19, JA ____-__.

 In addition to these comparisons, the Commission compared the

 Project’s greenhouse gas emissions to state goals (such as the Climate

 Act) to provide additional context and aid the decision-making process.

 See Certificate Order P 54 & n.109, JA ____-__; Final EIS at 18-20,

 JA ____-__. “However, the Commission is unable to determine how

 individual projects will affect international, national, or state-wide


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 GHG emissions reduction targets or whether a project’s GHG emissions

 comply with those goals or laws.” Certificate Order P 54, JA ____-__.

      In addition to quantification and comparisons to national and

 state emissions, the Commission included a substantial qualitative

 analysis. The Commission explained that the Project would increase

 the atmospheric concentration of greenhouse gas emissions, in

 combination with past and future emissions from all other sources, and

 would contribute cumulatively to climate change. See Certificate Order

 P 54, JA ____.

      The Final EIS provided further detail about the connection

 between greenhouse gas emissions and climate change using the state

 of the science. See Final EIS at 14-20 (describing extensive literature

 published by the United States Global Change Research Program

 addressing climate change, including the Climate Science Special

 Report: Fourth National Climate Assessment, Volumes I and II (2017

 and 2018, respectively) (Climate Report) and subsequent reports),

 JA ____-__. The Final EIS explained that the Climate Report states

 that climate change has resulted in a wide range of impacts across

 every region of the country and that these changes are driven by


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 accumulation of greenhouse gas emissions in the atmosphere through

 combustion of fossil fuels (including natural gas) and other sources. See

 id. at 14-15, JA ____-__. Although the Final EIS identified climate

 change as a global phenomenon (and provided links to the substantial

 literature describing global effects), the Final EIS focused on the

 existing and potential cumulative climate change impacts in the Project

 area. See id. at 15-16, JA ____-__.

      Regional effects included current effects (related to annual

 average temperatures, changes to precipitation patterns, alterations to

 snowmelt runoff, and effects on ocean and coastal ecosystems) and

 projected effects (related to precipitation, increasing temperatures,

 alternations to the freeze-free period, sea level rise, and effects on

 infrastructure). See id. at 15-16, JA ____-__.

      However, Commission staff could not identify a methodology

 to attribute discrete, quantifiable, physical effects on the

 environment resulting from the Project’s incremental contribution to

 greenhouse gas emissions. See Final EIS at 17-18, JA ____-__.

 “Without the ability to determine discrete resource impacts,

 Commission staff are unable to assess the Project’s contribution to


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 climate change through any objective analysis of physical impact

 attributable to the Project.” Id. at 18, JA ____. The analysis also

 included discussion of the U.S. government’s efforts to address climate

 change. See id.

      But the Commission did not stop there. The Commission also

 disclosed the Project’s total social cost of greenhouse gas emissions over

 the life of the 20-year contract for firm transportation service. See

 Certificate Order P 61; Rehearing Order P 37, JA ____; see also

 Certificate Order P 60 (explaining that, although it was disclosing the

 social cost of greenhouse gas emissions, the Commission was not

 “relying on or using the social cost of [greenhouse gas emissions]

 estimates to make any finding or determination regarding either the

 impact of the project’s [greenhouse gas] emissions or whether the

 project is in the public convenience and necessity”), JA ____. Using

 methods and values from the most recent guidance from the

 Interagency Working Group on Social Cost of Greenhouse Gases, the

 Commission provided the social cost of greenhouse gas emissions using

 three different discount rates and a fourth scenario that assumed a

 higher economic impact scenario. Certificate Order P 61 & n.133,


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 JA ____; Rehearing Order P 37, JA ____. Although the Commission was

 unable to determine significance from these values, the Commission

 had no obligation to do so. See Rehearing Order P 37 (citing court and

 agency cases), JA ____; see also Mountain Valley Pipeline, LLC, 161

 FERC ¶ 61,043 P 296 (2017), order on reh’g, 163 FERC ¶ 61,197

 PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, No. 17-1271,

 2019 WL 847199, at 2 (D.C. Cir. Feb. 19, 2019) (unpublished) (“[The

 Commission] gave several reasons why it believed petitioners’ preferred

 metric, the Social Cost of Carbon tool, is not an appropriate measure of

 project-level climate change impacts and their significance under NEPA

 or the Natural Gas Act. That is all that is required for NEPA

 purposes.”); EarthReports, 828 F.3d at 956 (accepting the Commission’s

 explanation why the social cost of carbon tool would not be appropriate

 or informative for project-specific review, including because “there are

 no established criteria identifying the monetized values that are to be

 considered significant for NEPA purposes”).

      In light of the Commission’s (1) quantification and discussion of

 the greenhouse gas emissions associated with the Tennessee Gas

 Project; (2) discussion of the significance of these emissions, including


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 comparisons to national and state emissions; and (3) extensive

 qualitative discussion, Food & Water Watch’s challenges to the

 Commission analysis fail. See WildEarth, 738 F.3d at 302; Sierra Club

 (Sabal Trail), 867 F.3d 1357; see also Baltimore Gas & Elec. Co., 462

 U.S. at 97 (explaining that NEPA “require[s] only that the agency take

 a ‘hard look’ at the environmental consequences before taking a major

 action”). As described above, the Commission has taken that hard look,

 including a discussion of significance. No more is required.

                                 Conclusion

      For the foregoing reasons the Court should deny Food & Water

 Watch’s petitions for review.




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                                  Respectfully submitted,


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 May 15, 2023




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                       Certificate of Compliance

       In accordance with Fed. R. App. P 32(g) and Circuit Rule 32(e), I

 certify that this brief complies with the type-volume limitation of Fed.

 R. App. P 32(a)(7)(B) because it contains 11,029 words excluding the

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 Schoolbook 14-point font, in Microsoft Word.


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 May 15, 2023
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         ADDENDUM
    Statutes & Regulations
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    vides that the action meanwhile is inoperative,                              (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 393.)
    for an appeal to superior agency authority.
                                                                                                      HISTORICAL AND REVISION NOTES
    (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 392.)
                                                                                                                              Revised Statutes and
                                                                                  Derivation                U.S. Code
                         HISTORICAL AND REVISION NOTES                                                                         Statutes at Large

                                                  Revised Statutes and           ..................   5 U.S.C. 1009(e).   June 11, 1946, ch. 324, § 10(e),
    Derivation                 U.S. Code                                                                                    60 Stat. 243.
                                                   Statutes at Large

    ..................   5 U.S.C. 1009(c).    June 11, 1946, ch. 324, § 10(c),     Standard changes are made to conform with the defi-
                                                60 Stat. 243.
                                                                                 nitions applicable and the style of this title as outlined
                                                                                 in the preface of this report.
      Standard changes are made to conform with the defi-
    nitions applicable and the style of this title as outlined
                                                                                            Statutory Notes and Related Subsidiaries
    in the preface of this report.
                                                                                                         ABBREVIATION OF RECORD
    § 705. Relief pending review
                                                                                   Pub. L. 85–791, Aug. 28, 1958, 72 Stat. 941, which au-
      When an agency finds that justice so requires,                             thorized abbreviation of record on review or enforce-
    it may postpone the effective date of action                                 ment of orders of administrative agencies and review
    taken by it, pending judicial review. On such                                on the original papers, provided, in section 35 thereof,
    conditions as may be required and to the extent                              that: ‘‘This Act [see Tables for classification] shall not
    necessary to prevent irreparable injury, the re-                             be construed to repeal or modify any provision of the
    viewing court, including the court to which a                                Administrative Procedure Act [see Short Title note set
                                                                                 out preceding section 551 of this title].’’
    case may be taken on appeal from or on applica-
    tion for certiorari or other writ to a reviewing                               CHAPTER 8—CONGRESSIONAL REVIEW OF
    court, may issue all necessary and appropriate                                        AGENCY RULEMAKING
    process to postpone the effective date of an
    agency action or to preserve status or rights                                Sec.
                                                                                 801.             Congressional review.
    pending conclusion of the review proceedings.
                                                                                 802.             Congressional disapproval procedure.
    (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 393.)                               803.             Special rule on statutory, regulatory, and ju-
                                                                                                    dicial deadlines.
                         HISTORICAL AND REVISION NOTES                           804.             Definitions.
                                                                                 805.             Judicial review.
                                                  Revised Statutes and
    Derivation                 U.S. Code           Statutes at Large             806.             Applicability; severability.
                                                                                 807.             Exemption for monetary policy.
    ..................   5 U.S.C. 1009(d).    June 11, 1946, ch. 324, § 10(d),   808.             Effective date of certain rules.
                                                60 Stat. 243.
                                                                                 § 801. Congressional review
      Standard changes are made to conform with the defi-
    nitions applicable and the style of this title as outlined                     (a)(1)(A) Before a rule can take effect, the Fed-
    in the preface of this report.                                               eral agency promulgating such rule shall submit
                                                                                 to each House of the Congress and to the Comp-
    § 706. Scope of review                                                       troller General a report containing—
      To the extent necessary to decision and when                                   (i) a copy of the rule;
    presented, the reviewing court shall decide all                                  (ii) a concise general statement relating to
    relevant questions of law, interpret constitu-                                 the rule, including whether it is a major rule;
    tional and statutory provisions, and determine                                 and
    the meaning or applicability of the terms of an                                  (iii) the proposed effective date of the rule.
    agency action. The reviewing court shall—                                      (B) On the date of the submission of the report
        (1) compel agency action unlawfully with-                                under subparagraph (A), the Federal agency pro-
      held or unreasonably delayed; and                                          mulgating the rule shall submit to the Comp-
        (2) hold unlawful and set aside agency ac-                               troller General and make available to each
      tion, findings, and conclusions found to be—                               House of Congress—
          (A) arbitrary, capricious, an abuse of dis-
                                                                                     (i) a complete copy of the cost-benefit anal-
        cretion, or otherwise not in accordance with
                                                                                   ysis of the rule, if any;
        law;
          (B) contrary to constitutional right,                                      (ii) the agency’s actions relevant to sections
        power, privilege, or immunity;                                             603, 604, 605, 607, and 609;
          (C) in excess of statutory jurisdiction, au-                               (iii) the agency’s actions relevant to sec-
        thority, or limitations, or short of statutory                             tions 202, 203, 204, and 205 of the Unfunded
        right;                                                                     Mandates Reform Act of 1995; and
          (D) without observance of procedure re-                                    (iv) any other relevant information or re-
        quired by law;                                                             quirements under any other Act and any rel-
          (E) unsupported by substantial evidence in                               evant Executive orders.
        a case subject to sections 556 and 557 of this                             (C) Upon receipt of a report submitted under
        title or otherwise reviewed on the record of                             subparagraph (A), each House shall provide cop-
        an agency hearing provided by statute; or                                ies of the report to the chairman and ranking
          (F) unwarranted by the facts to the extent                             member of each standing committee with juris-
        that the facts are subject to trial de novo by                           diction under the rules of the House of Rep-
        the reviewing court.                                                     resentatives or the Senate to report a bill to
    In making the foregoing determinations, the                                  amend the provision of law under which the rule
    court shall review the whole record or those                                 is issued.
    parts of it cited by a party, and due account                                  (2)(A) The Comptroller General shall provide a
    shall be taken of the rule of prejudicial error.                             report on each major rule to the committees of




                                                                             A1
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    Page 5887                  TITLE 42—THE PUBLIC HEALTH AND WELFARE                                                § 4332

    able at law or in equity by any party against the                 Statutory Notes and Related Subsidiaries
    United States, its departments, agencies, or entities,
    its officers, employees, or agents, or any other person.        COMMISSION ON POPULATION GROWTH AND THE
                                                                                AMERICAN FUTURE
                                           J.R. BIDEN, JR.
                                                                 Pub. L. 91–213, §§ 1–9, Mar. 16, 1970, 84 Stat. 67–69, es-
                                                               tablished the Commission on Population Growth and
       SUBCHAPTER I—POLICIES AND GOALS                         the American Future to conduct and sponsor such stud-
                                                               ies and research and make such recommendations as
                                                               might be necessary to provide information and edu-
    § 4331. Congressional declaration of national en-          cation to all levels of government in the United States,
        vironmental policy                                     and to our people regarding a broad range of problems
                                                               associated with population growth and their implica-
      (a) The Congress, recognizing the profound im-           tions for America’s future; prescribed the composition
    pact of man’s activity on the interrelations of            of the Commission; provided for the appointment of its
    all components of the natural environment, par-            members, and the designation of a Chairman and Vice
    ticularly the profound influences of population            Chairman; required a majority of the members of the
    growth, high-density urbanization, industrial              Commission to constitute a quorum, but allowed a less-
    expansion, resource exploitation, and new and              er number to conduct hearings; prescribed the com-
                                                               pensation of members of the Commission; required the
    expanding technological advances and recog-                Commission to conduct an inquiry into certain pre-
    nizing further the critical importance of restor-          scribed aspects of population growth in the United
    ing and maintaining environmental quality to               States and its foreseeable social consequences; provided
    the overall welfare and development of man, de-            for the appointment of an Executive Director and other
    clares that it is the continuing policy of the             personnel and prescribed their compensation; author-
    Federal Government, in cooperation with State              ized the Commission to enter into contracts with pub-
    and local governments, and other concerned                 lic agencies, private firms, institutions, and individuals
    public and private organizations, to use all prac-         for the conduct of research and surveys, the prepara-
                                                               tion of reports, and other activities necessary to the
    ticable means and measures, including financial            discharge of its duties, and to request from any Federal
    and technical assistance, in a manner calculated           department or agency any information and assistance
    to foster and promote the general welfare, to              it deems necessary to carry out its functions; required
    create and maintain conditions under which                 the General Services Administration to provide admin-
    man and nature can exist in productive har-                istrative services for the Commission on a reimburs-
    mony, and fulfill the social, economic, and other          able basis; required the Commission to submit an in-
    requirements of present and future generations             terim report to the President and the Congress one
    of Americans.                                              year after it was established and to submit its final re-
                                                               port two years after Mar. 16, 1970; terminated the Com-
      (b) In order to carry out the policy set forth in        mission sixty days after the date of the submission of
    this chapter, it is the continuing responsibility          its final report; and authorized to be appropriated, out
    of the Federal Government to use all practicable           of any money in the Treasury not otherwise appro-
    means, consistent with other essential consider-           priated, such amounts as might be necessary to carry
    ations of national policy, to improve and coordi-          out the provisions of Pub. L. 91–213.
    nate Federal plans, functions, programs, and re-
    sources to the end that the Nation may—                                      Executive Documents
        (1) fulfill the responsibilities of each genera-                       EXECUTIVE ORDER NO. 11507
      tion as trustee of the environment for suc-
                                                                 Ex. Ord. No. 11507, eff. Feb. 4, 1970, 35 F.R. 2573, which
      ceeding generations;                                     related to prevention, control, and abatement of air
        (2) assure for all Americans safe, healthful,          and water pollution at federal facilities was superseded
      productive, and esthetically and culturally              by Ex. Ord. No. 11752, eff. Dec. 17, 1973, 38 F.R. 34793, for-
      pleasing surroundings;                                   merly set out below.
        (3) attain the widest range of beneficial uses                         EXECUTIVE ORDER NO. 11752
      of the environment without degradation, risk
      to health or safety, or other undesirable and              Ex. Ord. No. 11752, Dec. 17, 1973, 38 F.R. 34793, which
                                                               related to the prevention, control, and abatement of
      unintended consequences;                                 environmental pollution at Federal facilities, was re-
        (4) preserve important historic, cultural, and         voked by Ex. Ord. No. 12088, Oct. 13, 1978, 43 F.R. 47707,
      natural aspects of our national heritage, and            set out as a note under section 4321 of this title.
      maintain, wherever possible, an environment
      which supports diversity and variety of indi-            § 4332. Cooperation of agencies; reports; avail-
      vidual choice;                                               ability of information; recommendations;
        (5) achieve a balance between population and               international and national coordination of
      resource use which will permit high standards                efforts
      of living and a wide sharing of life’s amenities;          The Congress authorizes and directs that, to
      and                                                      the fullest extent possible: (1) the policies, regu-
        (6) enhance the quality of renewable re-               lations, and public laws of the United States
      sources and approach the maximum attainable              shall be interpreted and administered in accord-
      recycling of depletable resources.                       ance with the policies set forth in this chapter,
      (c) The Congress recognizes that each person             and (2) all agencies of the Federal Government
    should enjoy a healthful environment and that              shall—
    each person has a responsibility to contribute to              (A) utilize a systematic, interdisciplinary
    the preservation and enhancement of the envi-                approach which will insure the integrated use
    ronment.                                                     of the natural and social sciences and the en-
                                                                 vironmental design arts in planning and in de-
    (Pub. L. 91–190, title I, § 101, Jan. 1, 1970, 83 Stat.      cisionmaking which may have an impact on
    852.)                                                        man’s environment;




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        (B) identify and develop methods and proce-        ities for the scope, objectivity, and content of
      dures, in consultation with the Council on En-       the entire statement or of any other responsi-
      vironmental Quality established by sub-              bility under this chapter; and further, this
      chapter II of this chapter, which will insure        subparagraph does not affect the legal suffi-
      that presently unquantified environmental            ciency of statements prepared by State agen-
      amenities and values may be given appro-             cies with less than statewide jurisdiction.1
      priate consideration in decisionmaking along           (E) study, develop, and describe appropriate
      with economic and technical considerations;          alternatives to recommended courses of action
        (C) include in every recommendation or re-         in any proposal which involves unresolved
      port on proposals for legislation and other          conflicts concerning alternative uses of avail-
      major Federal actions significantly affecting        able resources;
      the quality of the human environment, a de-            (F) recognize the worldwide and long-range
      tailed statement by the responsible official         character of environmental problems and,
      on—                                                  where consistent with the foreign policy of the
          (i) the environmental impact of the pro-         United States, lend appropriate support to ini-
        posed action,                                      tiatives, resolutions, and programs designed to
          (ii) any adverse environmental effects           maximize international cooperation in antici-
        which cannot be avoided should the proposal        pating and preventing a decline in the quality
        be implemented,                                    of mankind’s world environment;
          (iii) alternatives to the proposed action,
          (iv) the relationship between local short-         (G) make available to States, counties, mu-
        term uses of man’s environment and the             nicipalities, institutions, and individuals, ad-
        maintenance and enhancement of long-term           vice and information useful in restoring,
        productivity, and                                  maintaining, and enhancing the quality of the
          (v) any irreversible and irretrievable com-      environment;
        mitments of resources which would be in-             (H) initiate and utilize ecological informa-
        volved in the proposed action should it be         tion in the planning and development of re-
        implemented.                                       source-oriented projects; and
                                                             (I) assist the Council on Environmental
      Prior to making any detailed statement, the          Quality established by subchapter II of this
      responsible Federal official shall consult with      chapter.
      and obtain the comments of any Federal agen-
      cy which has jurisdiction by law or special ex-    (Pub. L. 91–190, title I, § 102, Jan. 1, 1970, 83 Stat.
      pertise with respect to any environmental im-      853; Pub. L. 94–83, Aug. 9, 1975, 89 Stat. 424.)
      pact involved. Copies of such statement and
      the comments and views of the appropriate                                 Editorial Notes
      Federal, State, and local agencies, which are                              AMENDMENTS
      authorized to develop and enforce environ-
      mental standards, shall be made available to         1975—Par. (2)(D) to (I). Pub. L. 94–83 added subpar. (D)
                                                         and redesignated former subpars. (D) to (H) as (E) to (I),
      the President, the Council on Environmental
                                                         respectively.
      Quality and to the public as provided by sec-
      tion 552 of title 5, and shall accompany the
                                                                Statutory Notes and Related Subsidiaries
      proposal through the existing agency review
      processes;                                            CERTAIN COMMERCIAL SPACE LAUNCH ACTIVITIES
        (D) Any detailed statement required under
                                                            Pub. L. 104–88, title IV, § 401, Dec. 29, 1995, 109 Stat.
      subparagraph (C) after January 1, 1970, for any    955, provided that: ‘‘The licensing of a launch vehicle or
      major Federal action funded under a program        launch site operator (including any amendment, exten-
      of grants to States shall not be deemed to be      sion, or renewal of the license) under [former] chapter
      legally insufficient solely by reason of having    701 of title 49, United States Code [now chapter 509
      been prepared by a State agency or official, if:   (§ 50901 et seq.) of Title 51, National and Commercial
          (i) the State agency or official has state-    Space Programs], shall not be considered a major Fed-
        wide jurisdiction and has the responsibility     eral action for purposes of section 102(C) of the Na-
        for such action,                                 tional Environmental Policy Act of 1969 (42 U.S.C.
          (ii) the responsible Federal official fur-     4332(C)) if—
                                                              ‘‘(1) the Department of the Army has issued a per-
        nishes guidance and participates in such            mit for the activity; and
        preparation,                                          ‘‘(2) the Army Corps of Engineers has found that
          (iii) the responsible Federal official inde-      the activity has no significant impact.’’
        pendently evaluates such statement prior to
        its approval and adoption, and                                      Executive Documents
          (iv) after January 1, 1976, the responsible
        Federal official provides early notification        EX. ORD. NO. 13352. FACILITATION OF COOPERATIVE
        to, and solicits the views of, any other State                       CONSERVATION
        or any Federal land management entity of           Ex. Ord. No. 13352, Aug. 26, 2004, 69 F.R. 52989, pro-
        any action or any alternative thereto which      vided:
        may have significant impacts upon such             By the authority vested in me as President by the
        State or affected Federal land management        Constitution and the laws of the United States of
        entity and, if there is any disagreement on      America, it is hereby ordered as follows:
                                                           SECTION 1. Purpose. The purpose of this order is to en-
        such impacts, prepares a written assessment
                                                         sure that the Departments of the Interior, Agriculture,
        of such impacts and views for incorporation      Commerce, and Defense and the Environmental Protec-
        into such detailed statement.                    tion Agency implement laws relating to the environ-
      The procedures in this subparagraph shall not
      relieve the Federal official of his responsibil-    1 So in original. The period probably should be a semicolon.




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    ment and natural resources in a manner that promotes           § 4333. Conformity of administrative procedures
    cooperative conservation, with an emphasis on appro-               to national environmental policy
    priate inclusion of local participation in Federal deci-
    sionmaking, in accordance with their respective agency           All agencies of the Federal Government shall
    missions, policies, and regulations.                           review their present statutory authority, admin-
      SEC. 2. Definition. As used in this order, the term ‘‘co-    istrative regulations, and current policies and
    operative conservation’’ means actions that relate to          procedures for the purpose of determining
    use, enhancement, and enjoyment of natural resources,
                                                                   whether there are any deficiencies or inconsist-
    protection of the environment, or both, and that in-
    volve collaborative activity among Federal, State,             encies therein which prohibit full compliance
    local, and tribal governments, private for-profit and          with the purposes and provisions of this chapter
    nonprofit institutions, other nongovernmental entities         and shall propose to the President not later than
    and individuals.                                               July 1, 1971, such measures as may be necessary
      SEC. 3. Federal Activities. To carry out the purpose of      to bring their authority and policies into con-
    this order, the Secretaries of the Interior, Agriculture,      formity with the intent, purposes, and proce-
    Commerce, and Defense and the Administrator of the             dures set forth in this chapter.
    Environmental Protection Agency shall, to the extent
    permitted by law and subject to the availability of ap-        (Pub. L. 91–190, title I, § 103, Jan. 1, 1970, 83 Stat.
    propriations and in coordination with each other as ap-        854.)
    propriate:
      (a) carry out the programs, projects, and activities of      § 4334. Other statutory obligations of agencies
    the agency that they respectively head that implement
    laws relating to the environment and natural resources           Nothing in section 4332 or 4333 of this title
    in a manner that:                                              shall in any way affect the specific statutory ob-
        (i) facilitates cooperative conservation;                  ligations of any Federal agency (1) to comply
        (ii) takes appropriate account of and respects the         with criteria or standards of environmental
      interests of persons with ownership or other legally         quality, (2) to coordinate or consult with any
      recognized interests in land and other natural re-
                                                                   other Federal or State agency, or (3) to act, or
      sources;
        (iii) properly accommodates local participation in         refrain from acting contingent upon the rec-
      Federal decisionmaking; and                                  ommendations or certification of any other Fed-
        (iv) provides that the programs, projects, and ac-         eral or State agency.
      tivities are consistent with protecting public health
                                                                   (Pub. L. 91–190, title I, § 104, Jan. 1, 1970, 83 Stat.
      and safety;
      (b) report annually to the Chairman of the Council on        854.)
    Environmental Quality on actions taken to implement
    this order; and                                                § 4335. Efforts supplemental to existing author-
      (c) provide funding to the Office of Environmental               izations
    Quality Management Fund (42 U.S.C. 4375) for the Con-
                                                                     The policies and goals set forth in this chapter
    ference for which section 4 of this order provides.
      SEC. 4. White House Conference on Cooperative Con-           are supplementary to those set forth in existing
    servation. The Chairman of the Council on Environ-             authorizations of Federal agencies.
    mental Quality shall, to the extent permitted by law           (Pub. L. 91–190, title I, § 105, Jan. 1, 1970, 83 Stat.
    and subject to the availability of appropriations:
                                                                   854.)
      (a) convene not later than 1 year after the date of
    this order, and thereafter at such times as the Chair-                  SUBCHAPTER II—COUNCIL ON
    man deems appropriate, a White House Conference on
    Cooperative Conservation (Conference) to facilitate the
                                                                             ENVIRONMENTAL QUALITY
    exchange of information and advice relating to (i) coop-
    erative conservation and (ii) means for achievement of
                                                                   § 4341. Omitted
    the purpose of this order; and
      (b) ensure that the Conference obtains information in                             Editorial Notes
    a manner that seeks from Conference participants their
                                                                                         CODIFICATION
    individual advice and does not involve collective judg-
    ment or consensus advice or deliberation.                        Section, Pub. L. 91–190, title II, § 201, Jan. 1, 1970, 83
      SEC. 5. General Provision. This order is not intended        Stat. 854, which required the President to transmit to
    to, and does not, create any right or benefit, sub-            Congress annually an Environmental Quality Report,
    stantive or procedural, enforceable at law or in equity        terminated, effective May 15, 2000, pursuant to section
    by any party against the United States, its depart-            3003 of Pub. L. 104–66, as amended, set out as a note
    ments, agencies, instrumentalities or entities, its offi-      under section 1113 of Title 31, Money and Finance. See,
    cers, employees or agents, or any other person.                also, item 1 on page 41 of House Document No. 103–7.
                                           GEORGE W. BUSH.
                                                                   § 4342. Establishment; membership; Chairman;
                                                                       appointments
    § 4332a. Repealed. Pub. L. 114–94, div. A, title I,
        § 1304(j)(2), Dec. 4, 2015, 129 Stat. 1386                   There is created in the Executive Office of the
                                                                   President a Council on Environmental Quality
      Section, Pub. L. 112–141, div. A, title I, § 1319, July 6,   (hereinafter referred to as the ‘‘Council’’). The
    2012, 126 Stat. 551, related to accelerated decision-
    making in environmental reviews.
                                                                   Council shall be composed of three members who
                                                                   shall be appointed by the President to serve at
                                                                   his pleasure, by and with the advice and consent
           Statutory Notes and Related Subsidiaries                of the Senate. The President shall designate one
                                                                   of the members of the Council to serve as Chair-
                  EFFECTIVE DATE OF REPEAL                         man. Each member shall be a person who, as a
      Repeal effective Oct. 1, 2015, see section 1003 of Pub.      result of his training, experience, and attain-
    L. 114–94, set out as an Effective Date of 2015 Amend-         ments, is exceptionally well qualified to analyze
    ment note under section 5313 of Title 5, Government Or-        and interpret environmental trends and infor-
    ganization and Employees.                                      mation of all kinds; to appraise programs and




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    § 715m. Cooperation between Secretary of the In-             tieth Congress, first session) and other reports
        terior and Federal and State authorities                 made pursuant to the authority of Congress, it
                                                                 is declared that the business of transporting and
      The Secretary of the Interior, in carrying out
                                                                 selling natural gas for ultimate distribution to
    the Act of February 22, 1935, as amended (15
                                                                 the public is affected with a public interest, and
    U.S.C., ch. 15A), is authorized to cooperate with
                                                                 that Federal regulation in matters relating to
    Federal and State authorities.
                                                                 the transportation of natural gas and the sale
    (June 25, 1946, ch. 472, § 3, 60 Stat. 307.)                 thereof in interstate and foreign commerce is
                                                                 necessary in the public interest.
                         Editorial Notes
                      REFERENCES IN TEXT                         (b) Transactions to which provisions of chapter
      Act of February 22, 1935, referred to in text, is act          applicable
    Feb. 22, 1935, ch. 18, 49 Stat. 30, popularly known as the     The provisions of this chapter shall apply to
    ‘‘Hot Oil Act’’ and also as the ‘‘Connally Hot Oil Act’’,    the transportation of natural gas in interstate
    which is classified generally to this chapter. For com-      commerce, to the sale in interstate commerce of
    plete classification of this Act to the Code, see Short
                                                                 natural gas for resale for ultimate public con-
    Title note set out under section 715 of this title and Ta-
    bles.                                                        sumption for domestic, commercial, industrial,
                                                                 or any other use, and to natural-gas companies
                          CODIFICATION                           engaged in such transportation or sale, and to
     Section was not enacted as a part of act Feb. 22, 1935,     the importation or exportation of natural gas in
    which comprises this chapter.                                foreign commerce and to persons engaged in
                                                                 such importation or exportation, but shall not
                     Executive Documents                         apply to any other transportation or sale of nat-
                   DELEGATION OF FUNCTIONS                       ural gas or to the local distribution of natural
                                                                 gas or to the facilities used for such distribution
      Delegation of President’s authority to Secretary of
    the Interior, see note set out under section 715j of this    or to the production or gathering of natural gas.
    title.
                                                                 (c) Intrastate transactions exempt from provi-
              CHAPTER 15B—NATURAL GAS                                sions of chapter; certification from State
    Sec.                                                             commission as conclusive evidence
    717.      Regulation of natural gas companies.                 The provisions of this chapter shall not apply
    717a.     Definitions.                                       to any person engaged in or legally authorized
    717b.     Exportation or importation of natural gas;
                LNG terminals.
                                                                 to engage in the transportation in interstate
    717b–1.   State and local safety considerations.             commerce or the sale in interstate commerce for
    717c.     Rates and charges.                                 resale, of natural gas received by such person
    717c–1.   Prohibition on market manipulation.                from another person within or at the boundary
    717d.     Fixing rates and charges; determination of         of a State if all the natural gas so received is ul-
                cost of production or transportation.            timately consumed within such State, or to any
    717e.     Ascertainment of cost of property.
                                                                 facilities used by such person for such transpor-
    717f.     Construction, extension, or abandonment of
                facilities.                                      tation or sale, provided that the rates and serv-
    717g.     Accounts; records; memoranda.                      ice of such person and facilities be subject to
    717h.     Rates of depreciation.                             regulation by a State commission. The matters
    717i.     Periodic and special reports.                      exempted from the provisions of this chapter by
    717j.     State compacts for conservation, transpor-         this subsection are declared to be matters pri-
                tation, etc., of natural gas.                    marily of local concern and subject to regula-
    717k.     Officials dealing in securities.
    717l.     Complaints.                                        tion by the several States. A certification from
    717m.     Investigations by Commission.                      such State commission to the Federal Power
    717n.     Process coordination; hearings; rules of pro-      Commission that such State commission has
                cedure.                                          regulatory jurisdiction over rates and service of
    717o.     Administrative powers of Commission; rules,        such person and facilities and is exercising such
                regulations, and orders.                         jurisdiction shall constitute conclusive evidence
    717p.     Joint boards.
    717q.     Appointment of officers and employees.
                                                                 of such regulatory power or jurisdiction.
    717r.     Rehearing and review.
    717s.     Enforcement of chapter.                            (d) Vehicular natural gas jurisdiction
    717t.     General penalties.                                   The provisions of this chapter shall not apply
    717t–1.   Civil penalty authority.
    717t–2.   Natural gas market transparency rules.             to any person solely by reason of, or with re-
    717u.     Jurisdiction of offenses; enforcement of li-       spect to, any sale or transportation of vehicular
                abilities and duties.                            natural gas if such person is—
    717v.     Separability.                                          (1) not otherwise a natural-gas company; or
    717w.     Short title.                                           (2) subject primarily to regulation by a
    717x.     Conserved natural gas.                               State commission, whether or not such State
    717y.     Voluntary conversion of natural gas users to
                heavy fuel oil.
                                                                   commission has, or is exercising, jurisdiction
    717z.     Emergency conversion of utilities and other          over the sale, sale for resale, or transportation
                facilities.                                        of vehicular natural gas.
    § 717. Regulation of natural gas companies                   (June 21, 1938, ch. 556, § 1, 52 Stat. 821; Mar. 27,
                                                                 1954, ch. 115, 68 Stat. 36; Pub. L. 102–486, title IV,
    (a) Necessity of regulation in public interest               § 404(a)(1), Oct. 24, 1992, 106 Stat. 2879; Pub. L.
      As disclosed in reports of the Federal Trade               109–58, title III, § 311(a), Aug. 8, 2005, 119 Stat.
    Commission made pursuant to S. Res. 83 (Seven-               685.)




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                          Editorial Notes                                 (1) ‘‘Person’’ includes an individual or a cor-
                            AMENDMENTS                                  poration.
                                                                          (2) ‘‘Corporation’’ includes any corporation,
      2005—Subsec. (b). Pub. L. 109–58 inserted ‘‘and to the
    importation or exportation of natural gas in foreign
                                                                        joint-stock company, partnership, association,
    commerce and to persons engaged in such importation                 business trust, organized group of persons,
    or exportation,’’ after ‘‘such transportation or sale,’’.           whether incorporated or not, receiver or re-
      1992—Subsec. (d). Pub. L. 102–486 added subsec. (d).              ceivers, trustee or trustees of any of the fore-
      1954—Subsec. (c). Act Mar. 27, 1954, added subsec. (c).           going, but shall not include municipalities as
                                                                        hereinafter defined.
             Statutory Notes and Related Subsidiaries                     (3) ‘‘Municipality’’ means a city, county, or
         TERMINATION OF FEDERAL POWER COMMISSION;                       other political subdivision or agency of a
                  TRANSFER OF FUNCTIONS                                 State.
      The Federal Power Commission was terminated, and                    (4) ‘‘State’’ means a State admitted to the
    its functions, personnel, property, funds, etc., were               Union, the District of Columbia, and any orga-
    transferred to Secretary of Energy (except for certain              nized Territory of the United States.
    functions which were transferred to the Federal Energy                (5) ‘‘Natural gas’’ means either natural gas
    Regulatory Commission) by sections 7151(b), 7171(a),                unmixed, or any mixture of natural and artifi-
    7172(a), 7291, and 7293 of Title 42, The Public Health and          cial gas.
    Welfare.
                                                                          (6) ‘‘Natural-gas company’’ means a person
                  STATE LAWS AND REGULATIONS                            engaged in the transportation of natural gas
      Pub. L. 102–486, title IV, § 404(b), Oct. 24, 1992, 106 Stat.     in interstate commerce, or the sale in inter-
    2879, provided that: ‘‘The transportation or sale of nat-           state commerce of such gas for resale.
    ural gas by any person who is not otherwise a public                  (7) ‘‘Interstate commerce’’ means commerce
    utility, within the meaning of State law—                           between any point in a State and any point
        ‘‘(1) in closed containers; or                                  outside thereof, or between points within the
        ‘‘(2) otherwise to any person for use by such person
                                                                        same State but through any place outside
      as a fuel in a self-propelled vehicle,
    shall not be considered to be a transportation or sale of           thereof, but only insofar as such commerce
    natural gas within the meaning of any State law, regu-              takes place within the United States.
    lation, or order in effect before January 1, 1989. This               (8) ‘‘State commission’’ means the regu-
    subsection shall not apply to any provision of any                  latory body of the State or municipality hav-
    State law, regulation, or order to the extent that such             ing jurisdiction to regulate rates and charges
    provision has as its primary purpose the protection of              for the sale of natural gas to consumers within
    public safety.’’                                                    the State or municipality.
              EMERGENCY NATURAL GAS ACT OF 1977                           (9) ‘‘Commission’’ and ‘‘Commissioner’’
      Pub. L. 95–2, Feb. 2, 1977, 91 Stat. 4, authorized Presi-         means the Federal Power Commission, and a
    dent to declare a natural gas emergency and to require              member thereof, respectively.
    emergency deliveries and transportation of natural gas                (10) ‘‘Vehicular natural gas’’ means natural
    until the earlier of Apr. 30, 1977, or termination of               gas that is ultimately used as a fuel in a self-
    emergency by President and provided for antitrust pro-              propelled vehicle.
    tection, emergency purchases, adjustment in charges                   (11) ‘‘LNG terminal’’ includes all natural gas
    for local distribution companies, relationship to Nat-              facilities located onshore or in State waters
    ural Gas Act, effect of certain contractual obligations,
    administrative procedure and judicial review, enforce-
                                                                        that are used to receive, unload, load, store,
    ment, reporting to Congress, delegation of authorities,             transport, gasify, liquefy, or process natural
    and preemption of inconsistent State or local action.               gas that is imported to the United States from
                                                                        a foreign country, exported to a foreign coun-
                       Executive Documents                              try from the United States, or transported in
                    EXECUTIVE ORDER NO. 11969                           interstate commerce by waterborne vessel, but
                                                                        does not include—
      Ex. Ord. No. 11969, Feb. 2, 1977, 42 F.R. 6791, as amend-             (A) waterborne vessels used to deliver nat-
    ed by Ex. Ord. No. 12038, Feb. 3, 1978, 43 F.R. 4957, which
    delegated to the Secretary of Energy the authority
                                                                          ural gas to or from any such facility; or
    vested in the President by the Emergency Natural Gas                    (B) any pipeline or storage facility subject
    Act of 1977 except the authority to declare and termi-                to the jurisdiction of the Commission under
    nate a natural gas emergency, was revoked by Ex. Ord.                 section 717f of this title.
    No. 12553, Feb. 25, 1986, 51 F.R. 7237.
                                                                      (June 21, 1938, ch. 556, § 2, 52 Stat. 821; Pub. L.
                      PROCLAMATION NO. 4485                           102–486, title IV, § 404(a)(2), Oct. 24, 1992, 106 Stat.
      Proc. No. 4485, Feb. 2, 1977, 42 F.R. 6789, declared that       2879; Pub. L. 109–58, title III, § 311(b), Aug. 8, 2005,
    a natural gas emergency existed within the meaning of             119 Stat. 685.)
    section 3 of the Emergency Natural Gas Act of 1977, set
    out as a note above, which emergency was terminated                                   Editorial Notes
    by Proc. No. 4495, Apr. 1, 1977, 42 F.R. 18053, formerly set
    out below.                                                                             AMENDMENTS

                      PROCLAMATION NO. 4495                            2005—Par. (11). Pub. L. 109–58 added par. (11).
                                                                       1992—Par. (10). Pub. L. 102–486 added par. (10).
      Proc. No. 4495, Apr. 1, 1977, 42 F.R. 18053, terminated
    the natural gas emergency declared to exist by Proc.                    Statutory Notes and Related Subsidiaries
    No. 4485, Feb. 2, 1977, 42 F.R. 6789, formerly set out
    above.                                                                 TERMINATION OF FEDERAL POWER COMMISSION;
                                                                                    TRANSFER OF FUNCTIONS
    § 717a. Definitions
                                                                        The Federal Power Commission was terminated, and
      When used in this chapter, unless the context                   its functions, personnel, property, funds, etc., were
    otherwise requires—                                               transferred to the Secretary of Energy (except for cer-




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    section shall be construed to create a private            § 717f. Construction, extension, or abandonment
    right of action.                                              of facilities
    (June 21, 1938, ch. 556, § 4A, as added Pub. L.           (a) Extension or improvement of facilities on
    109–58, title III, § 315, Aug. 8, 2005, 119 Stat. 691.)        order of court; notice and hearing
                                                                Whenever the Commission, after notice and
    § 717d. Fixing rates and charges; determination           opportunity for hearing, finds such action nec-
        of cost of production or transportation               essary or desirable in the public interest, it may
                                                              by order direct a natural-gas company to extend
    (a) Decreases in rates                                    or improve its transportation facilities, to es-
      Whenever the Commission, after a hearing had            tablish physical connection of its transportation
    upon its own motion or upon complaint of any              facilities with the facilities of, and sell natural
    State, municipality, State commission, or gas             gas to, any person or municipality engaged or
    distributing company, shall find that any rate,           legally authorized to engage in the local dis-
    charge, or classification demanded, observed,             tribution of natural or artificial gas to the pub-
    charged, or collected by any natural-gas com-             lic, and for such purpose to extend its transpor-
    pany in connection with any transportation or             tation facilities to communities immediately
    sale of natural gas, subject to the jurisdiction of       adjacent to such facilities or to territory served
    the Commission, or that any rule, regulation,             by such natural-gas company, if the Commission
    practice, or contract affecting such rate, charge,        finds that no undue burden will be placed upon
    or classification is unjust, unreasonable, unduly         such natural-gas company thereby: Provided,
    discriminatory, or preferential, the Commission           That the Commission shall have no authority to
    shall determine the just and reasonable rate,             compel the enlargement of transportation facili-
    charge, classification, rule, regulation, practice,       ties for such purposes, or to compel such nat-
    or contract to be thereafter observed and in              ural-gas company to establish physical connec-
    force, and shall fix the same by order: Provided,         tion or sell natural gas when to do so would im-
    however, That the Commission shall have no                pair its ability to render adequate service to its
    power to order any increase in any rate con-              customers.
    tained in the currently effective schedule of             (b) Abandonment of facilities or services; ap-
    such natural gas company on file with the Com-                 proval of Commission
    mission, unless such increase is in accordance              No natural-gas company shall abandon all or
    with a new schedule filed by such natural gas             any portion of its facilities subject to the juris-
    company; but the Commission may order a de-               diction of the Commission, or any service ren-
    crease where existing rates are unjust, unduly            dered by means of such facilities, without the
    discriminatory, preferential, otherwise unlaw-            permission and approval of the Commission first
    ful, or are not the lowest reasonable rates.              had and obtained, after due hearing, and a find-
                                                              ing by the Commission that the available supply
    (b) Costs of production and transportation                of natural gas is depleted to the extent that the
      The Commission upon its own motion, or upon             continuance of service is unwarranted, or that
    the request of any State commission, whenever             the present or future public convenience or ne-
    it can do so without prejudice to the efficient           cessity permit such abandonment.
    and proper conduct of its affairs, may inves-             (c) Certificate of public convenience and neces-
    tigate and determine the cost of the production                sity
    or transportation of natural gas by a natural-
                                                                (1)(A) No natural-gas company or person
    gas company in cases where the Commission has
                                                              which will be a natural-gas company upon com-
    no authority to establish a rate governing the
                                                              pletion of any proposed construction or exten-
    transportation or sale of such natural gas.
                                                              sion shall engage in the transportation or sale of
    (June 21, 1938, ch. 556, § 5, 52 Stat. 823.)              natural gas, subject to the jurisdiction of the
                                                              Commission, or undertake the construction or
    § 717e. Ascertainment of cost of property                 extension of any facilities therefor, or acquire or
                                                              operate any such facilities or extensions thereof,
    (a) Cost of property                                      unless there is in force with respect to such nat-
                                                              ural-gas company a certificate of public conven-
      The Commission may investigate and ascer-
                                                              ience and necessity issued by the Commission
    tain the actual legitimate cost of the property
                                                              authorizing such acts or operations: Provided,
    of every natural-gas company, the depreciation
                                                              however, That if any such natural-gas company
    therein, and, when found necessary for rate-
                                                              or predecessor in interest was bona fide engaged
    making purposes, other facts which bear on the
                                                              in transportation or sale of natural gas, subject
    determination of such cost or depreciation and
                                                              to the jurisdiction of the Commission, on Feb-
    the fair value of such property.
                                                              ruary 7, 1942, over the route or routes or within
    (b) Inventory of property; statements of costs            the area for which application is made and has
                                                              so operated since that time, the Commission
       Every natural-gas company upon request shall
                                                              shall issue such certificate without requiring
    file with the Commission an inventory of all or
                                                              further proof that public convenience and neces-
    any part of its property and a statement of the
                                                              sity will be served by such operation, and with-
    original cost thereof, and shall keep the Com-
                                                              out further proceedings, if application for such
    mission informed regarding the cost of all addi-
                                                              certificate is made to the Commission within
    tions, betterments, extensions, and new con-
                                                              ninety days after February 7, 1942. Pending the
    struction.
                                                              determination of any such application, the con-
    (June 21, 1938, ch. 556, § 6, 52 Stat. 824.)              tinuance of such operation shall be lawful.




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       (B) In all other cases the Commission shall set    increased market demands in such service area
    the matter for hearing and shall give such rea-       without further authorization; and
    sonable notice of the hearing thereon to all in-        (2) If the Commission has determined a service
    terested persons as in its judgment may be nec-       area pursuant to this subsection, transportation
    essary under rules and regulations to be pre-         to ultimate consumers in such service area by
    scribed by the Commission; and the application        the holder of such service area determination,
    shall be decided in accordance with the proce-        even if across State lines, shall be subject to the
    dure provided in subsection (e) of this section       exclusive jurisdiction of the State commission
    and such certificate shall be issued or denied ac-    in the State in which the gas is consumed. This
    cordingly: Provided, however, That the Commis-        section shall not apply to the transportation of
    sion may issue a temporary certificate in cases       natural gas to another natural gas company.
    of emergency, to assure maintenance of ade-           (g) Certificate of public convenience and neces-
    quate service or to serve particular customers,           sity for service of area already being served
    without notice or hearing, pending the deter-           Nothing contained in this section shall be con-
    mination of an application for a certificate, and     strued as a limitation upon the power of the
    may by regulation exempt from the require-            Commission to grant certificates of public con-
    ments of this section temporary acts or oper-         venience and necessity for service of an area al-
    ations for which the issuance of a certificate        ready being served by another natural-gas com-
    will not be required in the public interest.          pany.
       (2) The Commission may issue a certificate of
                                                          (h) Right of eminent domain for construction of
    public convenience and necessity to a natural-
                                                              pipelines, etc.
    gas company for the transportation in interstate
    commerce of natural gas used by any person for          When any holder of a certificate of public con-
    one or more high-priority uses, as defined, by        venience and necessity cannot acquire by con-
    rule, by the Commission, in the case of—              tract, or is unable to agree with the owner of
         (A) natural gas sold by the producer to such     property to the compensation to be paid for, the
       person; and                                        necessary right-of-way to construct, operate,
         (B) natural gas produced by such person.         and maintain a pipe line or pipe lines for the
                                                          transportation of natural gas, and the necessary
    (d) Application for certificate of public conven-
                                                          land or other property, in addition to right-of-
         ience and necessity
                                                          way, for the location of compressor stations,
       Application for certificates shall be made in      pressure apparatus, or other stations or equip-
    writing to the Commission, be verified under          ment necessary to the proper operation of such
    oath, and shall be in such form, contain such in-     pipe line or pipe lines, it may acquire the same
    formation, and notice thereof shall be served         by the exercise of the right of eminent domain
    upon such interested parties and in such manner       in the district court of the United States for the
    as the Commission shall, by regulation, require.      district in which such property may be located,
    (e) Granting of certificate of public convenience     or in the State courts. The practice and proce-
         and necessity                                    dure in any action or proceeding for that pur-
       Except in the cases governed by the provisos       pose in the district court of the United States
    contained in subsection (c)(1) of this section, a     shall conform as nearly as may be with the prac-
    certificate shall be issued to any qualified appli-   tice and procedure in similar action or pro-
    cant therefor, authorizing the whole or any part      ceeding in the courts of the State where the
    of the operation, sale, service, construction, ex-    property is situated: Provided, That the United
    tension, or acquisition covered by the applica-       States district courts shall only have jurisdic-
    tion, if it is found that the applicant is able and   tion of cases when the amount claimed by the
    willing properly to do the acts and to perform        owner of the property to be condemned exceeds
    the service proposed and to conform to the pro-       $3,000.
    visions of this chapter and the requirements,         (June 21, 1938, ch. 556, § 7, 52 Stat. 824; Feb. 7,
    rules, and regulations of the Commission there-       1942, ch. 49, 56 Stat. 83; July 25, 1947, ch. 333, 61
    under, and that the proposed service, sale, oper-     Stat. 459; Pub. L. 95–617, title VI, § 608, Nov. 9,
    ation, construction, extension, or acquisition, to    1978, 92 Stat. 3173; Pub. L. 100–474, § 2, Oct. 6, 1988,
    the extent authorized by the certificate, is or       102 Stat. 2302.)
    will be required by the present or future public
    convenience and necessity; otherwise such appli-                            Editorial Notes
    cation shall be denied. The Commission shall                                 AMENDMENTS
    have the power to attach to the issuance of the
                                                             1988—Subsec. (f). Pub. L. 100–474 designated existing
    certificate and to the exercise of the rights         provisions as par. (1) and added par. (2).
    granted thereunder such reasonable terms and             1978—Subsec. (c). Pub. L. 95–617, § 608(a), (b)(1), des-
    conditions as the public convenience and neces-       ignated existing first paragraph as par. (1)(A) and exist-
    sity may require.                                     ing second paragraph as par. (1)(B) and added par. (2).
                                                             Subsec. (e). Pub. L. 95–617, § 608(b)(2), substituted
    (f) Determination of service area; jurisdiction of
                                                          ‘‘subsection (c)(1)’’ for ‘‘subsection (c)’’.
         transportation to ultimate consumers                1947—Subsec. (h). Act July 25, 1947, added subsec. (h).
       (1) The Commission, after a hearing had upon          1942—Subsecs. (c) to (g). Act Feb. 7, 1942, struck out
    its own motion or upon application, may deter-        subsec. (c), and added new subsecs. (c) to (g).
    mine the service area to which each authoriza-
                                                                 Statutory Notes and Related Subsidiaries
    tion under this section is to be limited. Within
    such service area as determined by the Commis-                  EFFECTIVE DATE OF 1988 AMENDMENT
    sion a natural-gas company may enlarge or ex-           Pub. L. 100–474, § 3, Oct. 6, 1988, 102 Stat. 2302, provided
    tend its facilities for the purpose of supplying      that: ‘‘The provisions of this Act [amending this sec-




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    tion and enacting provisions set out as a note under                tracts, reports of engineers, and other data, rec-
    section 717w of this title] shall become effective one              ords, and papers, and to grant to all agents of
    hundred and twenty days after the date of enactment                 the Commission free access to its property and
    [Oct. 6, 1988].’’
                                                                        its accounts, records, and memoranda when re-
                       Executive Documents
                                                                        quested so to do. No member, officer, or em-
                                                                        ployee of the Commission shall divulge any fact
                      TRANSFER OF FUNCTIONS                             or information which may come to his knowl-
       Enforcement functions of Secretary or other official             edge during the course of examination of books,
    in Department of Energy and Commission, Commis-                     records, data, or accounts, except insofar as he
    sioners, or other official in Federal Energy Regulatory             may be directed by the Commission or by a
    Commission related to compliance with certificates of               court.
    public convenience and necessity issued under this sec-
                                                                        (c) Books, accounts, etc., of the person control-
    tion with respect to pre-construction, construction,
    and initial operation of transportation system for Ca-                  ling gas company subject to examination
    nadian and Alaskan natural gas transferred to Federal                 The books, accounts, memoranda, and records
    Inspector, Office of Federal Inspector for Alaska Nat-              of any person who controls directly or indirectly
    ural Gas Transportation System, until first anniver-                a natural-gas company subject to the jurisdic-
    sary of date of initial operation of Alaska Natural Gas             tion of the Commission and of any other com-
    Transportation System, see Reorg. Plan No. 1 of 1979,
    §§ 102(d), 203(a), 44 F.R. 33663, 33666, 93 Stat. 1373, 1376, ef-
                                                                        pany controlled by such person, insofar as they
    fective July 1, 1979, set out under section 719e of this            relate to transactions with or the business of
    title. Office of Federal Inspector for the Alaska Natural           such natural-gas company, shall be subject to
    Gas Transportation System abolished and functions                   examination on the order of the Commission.
    and authority vested in Inspector transferred to Sec-
    retary of Energy by section 3012(b) of Pub. L. 102–486,
                                                                        (June 21, 1938, ch. 556, § 8, 52 Stat. 825.)
    set out as an Abolition of Office of Federal Inspector              § 717h. Rates of depreciation
    note under section 719e of this title. Functions and au-
    thority vested in Secretary of Energy subsequently                  (a) Depreciation and amortization
    transferred to Federal Coordinator for Alaska Natural                 The Commission may, after hearing, require
    Gas Transportation Projects by section 720d(f) of this              natural-gas companies to carry proper and ade-
    title.
                                                                        quate depreciation and amortization accounts in
    § 717g. Accounts; records; memoranda                                accordance with such rules, regulations, and
                                                                        forms of account as the Commission may pre-
    (a) Rules and regulations for keeping and pre-                      scribe. The Commission may from time to time
        serving accounts, records, etc.                                 ascertain and determine, and by order fix, the
      Every natural-gas company shall make, keep,                       proper and adequate rates of depreciation and
    and preserve for such periods, such accounts,                       amortization of the several classes of property
    records of cost-accounting procedures, cor-                         of each natural-gas company used or useful in
    respondence, memoranda, papers, books, and                          the production, transportation, or sale of nat-
    other records as the Commission may by rules                        ural gas. Each natural-gas company shall con-
    and regulations prescribe as necessary or appro-                    form its depreciation and amortization accounts
    priate for purposes of the administration of this                   to the rates so ascertained, determined, and
    chapter: Provided, however, That nothing in this                    fixed. No natural-gas company subject to the ju-
    chapter shall relieve any such natural-gas com-                     risdiction of the Commission shall charge to op-
    pany from keeping any accounts, memoranda, or                       erating expenses any depreciation or amortiza-
    records which such natural-gas company may be                       tion charges on classes of property other than
    required to keep by or under authority of the                       those prescribed by the Commission, or charge
    laws of any State. The Commission may pre-                          with respect to any class of property a percent-
    scribe a system of accounts to be kept by such                      age of depreciation or amortization other than
    natural-gas companies, and may classify such                        that prescribed therefor by the Commission. No
    natural-gas companies and prescribe a system of                     such natural-gas company shall in any case in-
    accounts for each class. The Commission, after                      clude in any form under its operating or other
    notice and opportunity for hearing, may deter-                      expenses any depreciation, amortization, or
    mine by order the accounts in which particular                      other charge or expenditure included elsewhere
    outlays or receipts shall be entered, charged, or                   as a depreciation or amortization charge or oth-
    credited. The burden of proof to justify every ac-                  erwise under its operating or other expenses.
    counting entry questioned by the Commission                         Nothing in this section shall limit the power of
    shall be on the person making, authorizing, or                      a State commission to determine in the exercise
    requiring such entry, and the Commission may                        of its jurisdiction, with respect to any natural-
    suspend a charge or credit pending submission of                    gas company, the percentage rates of deprecia-
    satisfactory proof in support thereof.                              tion or amortization to be allowed, as to any
    (b) Access to and inspection of accounts and                        class of property of such natural-gas company,
        records                                                         or the composite depreciation or amortization
      The Commission shall at all times have access                     rate, for the purpose of determining rates or
    to and the right to inspect and examine all ac-                     charges.
    counts, records, and memoranda of natural-gas                       (b) Rules
    companies; and it shall be the duty of such nat-                      The Commission, before prescribing any rules
    ural-gas companies to furnish to the Commis-                        or requirements as to accounts, records, or
    sion, within such reasonable time as the Com-                       memoranda, or as to depreciation or amortiza-
    mission may order, any information with re-                         tion rates, shall notify each State commission
    spect thereto which the Commission may by                           having jurisdiction with respect to any natural-
    order require, including copies of maps, con-                       gas company involved and shall give reasonable




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             Statutory Notes and Related Subsidiaries              reasonable grounds for failure to adduce such
                             REPEALS                               evidence in the proceedings before the Commis-
                                                                   sion, the court may order such additional evi-
      Act Oct. 28, 1949, ch. 782, cited as a credit to this sec-   dence to be taken before the Commission and to
    tion, was repealed (subject to a savings clause) by Pub.
                                                                   be adduced upon the hearing in such manner and
    L. 89–554, Sept. 6, 1966, § 8, 80 Stat. 632, 655.
                                                                   upon such terms and conditions as to the court
    § 717r. Rehearing and review                                   may seem proper. The Commission may modify
                                                                   its findings as to the facts by reason of the addi-
    (a) Application for rehearing; time                            tional evidence so taken, and it shall file with
      Any person, State, municipality, or State                    the court such modified or new findings, which
    commission aggrieved by an order issued by the                 is supported by substantial evidence, shall be
    Commission in a proceeding under this chapter                  conclusive, and its recommendation, if any, for
    to which such person, State, municipality, or                  the modification or setting aside of the original
    State commission is a party may apply for a re-                order. The judgment and decree of the court, af-
    hearing within thirty days after the issuance of               firming, modifying, or setting aside, in whole or
    such order. The application for rehearing shall                in part, any such order of the Commission, shall
    set forth specifically the ground or grounds                   be final, subject to review by the Supreme Court
    upon which such application is based. Upon such                of the United States upon certiorari or certifi-
    application the Commission shall have power to                 cation as provided in section 1254 of title 28.
    grant or deny rehearing or to abrogate or mod-                 (c) Stay of Commission order
    ify its order without further hearing. Unless the
    Commission acts upon the application for re-                     The filing of an application for rehearing
    hearing within thirty days after it is filed, such             under subsection (a) shall not, unless specifi-
    application may be deemed to have been denied.                 cally ordered by the Commission, operate as a
    No proceeding to review any order of the Com-                  stay of the Commission’s order. The commence-
    mission shall be brought by any person unless                  ment of proceedings under subsection (b) of this
    such person shall have made application to the                 section shall not, unless specifically ordered by
    Commission for a rehearing thereon. Until the                  the court, operate as a stay of the Commission’s
    record in a proceeding shall have been filed in a              order.
    court of appeals, as provided in subsection (b),               (d) Judicial review
    the Commission may at any time, upon reason-                     (1) In general
    able notice and in such manner as it shall deem                     The United States Court of Appeals for the
    proper, modify or set aside, in whole or in part,                circuit in which a facility subject to section
    any finding or order made or issued by it under                  717b of this title or section 717f of this title is
    the provisions of this chapter.                                  proposed to be constructed, expanded, or oper-
    (b) Review of Commission order                                   ated shall have original and exclusive jurisdic-
      Any party to a proceeding under this chapter                   tion over any civil action for the review of an
    aggrieved by an order issued by the Commission                   order or action of a Federal agency (other
    in such proceeding may obtain a review of such                   than the Commission) or State administrative
    order in the court of appeals of the United                      agency acting pursuant to Federal law to
    States for any circuit wherein the natural-gas                   issue, condition, or deny any permit, license,
    company to which the order relates is located or                 concurrence, or approval (hereinafter collec-
    has its principal place of business, or in the                   tively referred to as ‘‘permit’’) required under
    United States Court of Appeals for the District                  Federal law, other than the Coastal Zone Man-
    of Columbia, by filing in such court, within                     agement Act of 1972 (16 U.S.C. 1451 et seq.).
    sixty days after the order of the Commission                     (2) Agency delay
    upon the application for rehearing, a written pe-                   The United States Court of Appeals for the
    tition praying that the order of the Commission                  District of Columbia shall have original and
    be modified or set aside in whole or in part. A                  exclusive jurisdiction over any civil action for
    copy of such petition shall forthwith be trans-                  the review of an alleged failure to act by a
    mitted by the clerk of the court to any member                   Federal agency (other than the Commission)
    of the Commission and thereupon the Commis-                      or State administrative agency acting pursu-
    sion shall file with the court the record upon                   ant to Federal law to issue, condition, or deny
    which the order complained of was entered, as                    any permit required under Federal law, other
    provided in section 2112 of title 28. Upon the fil-              than the Coastal Zone Management Act of 1972
    ing of such petition such court shall have juris-                (16 U.S.C. 1451 et seq.), for a facility subject to
    diction, which upon the filing of the record with                section 717b of this title or section 717f of this
    it shall be exclusive, to affirm, modify, or set                 title. The failure of an agency to take action
    aside such order in whole or in part. No objec-                  on a permit required under Federal law, other
    tion to the order of the Commission shall be                     than the Coastal Zone Management Act of
    considered by the court unless such objection                    1972, in accordance with the Commission
    shall have been urged before the Commission in                   schedule established pursuant to section
    the application for rehearing unless there is rea-               717n(c) of this title shall be considered incon-
    sonable ground for failure so to do. The finding                 sistent with Federal law for the purposes of
    of the Commission as to the facts, if supported                  paragraph (3).
    by substantial evidence, shall be conclusive. If
    any party shall apply to the court for leave to                  (3) Court action
    adduce additional evidence, and shall show to                       If the Court finds that such order or action
    the satisfaction of the court that such addi-                    is inconsistent with the Federal law governing
    tional evidence is material and that there were                  such permit and would prevent the construc-




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      tion, expansion, or operation of the facility                tion in the proper district court of the United
      subject to section 717b of this title or section             States, or the United States courts of any Terri-
      717f of this title, the Court shall remand the               tory or other place subject to the jurisdiction of
      proceeding to the agency to take appropriate                 the United States, to enjoin such acts or prac-
      action consistent with the order of the Court.               tices and to enforce compliance with this chap-
      If the Court remands the order or action to the              ter or any rule, regulation, or order thereunder,
      Federal or State agency, the Court shall set a               and upon a proper showing a permanent or tem-
      reasonable schedule and deadline for the agen-               porary injunction or decree or restraining order
      cy to act on remand.                                         shall be granted without bond. The Commission
      (4) Commission action                                        may transmit such evidence as may be available
                                                                   concerning such acts or practices or concerning
        For any action described in this subsection,               apparent violations of the Federal antitrust
      the Commission shall file with the Court the                 laws to the Attorney General, who, in his discre-
      consolidated record of such order or action to               tion, may institute the necessary criminal pro-
      which the appeal hereunder relates.                          ceedings.
      (5) Expedited review
                                                                   (b) Mandamus
        The Court shall set any action brought
                                                                     Upon application of the Commission the dis-
      under this subsection for expedited consider-
                                                                   trict courts of the United States and the United
      ation.
                                                                   States courts of any Territory or other place
    (June 21, 1938, ch. 556, § 19, 52 Stat. 831; June 25,          subject to the jurisdiction of the United States
    1948, ch. 646, § 32(a), 62 Stat. 991; May 24, 1949, ch.        shall have jurisdiction to issue writs of man-
    139, § 127, 63 Stat. 107; Pub. L. 85–791, § 19, Aug. 28,       damus commanding any person to comply with
    1958, 72 Stat. 947; Pub. L. 109–58, title III, § 313(b),       the provisions of this chapter or any rule, regu-
    Aug. 8, 2005, 119 Stat. 689.)                                  lation, or order of the Commission thereunder.
                                                                   (c) Employment of attorneys by Commission
                         Editorial Notes
                                                                     The Commission may employ such attorneys
                      REFERENCES IN TEXT                           as it finds necessary for proper legal aid and
       The Coastal Zone Management Act of 1972, referred to        service of the Commission or its members in the
    in subsec. (d)(1), (2), is title III of Pub. L. 89–454, as     conduct of their work, or for proper representa-
    added by Pub. L. 92–583, Oct. 27, 1972, 86 Stat. 1280, as      tion of the public interest in investigations
    amended, which is classified generally to chapter 33           made by it, or cases or proceedings pending be-
    (§ 1451 et seq.) of Title 16, Conservation. For complete
                                                                   fore it, whether at the Commission’s own in-
    classification of this Act to the Code, see Short Title
    note set out under section 1451 of Title 16 and Tables.        stance or upon complaint, or to appear for or
                                                                   represent the Commission in any case in court;
                           CODIFICATION                            and the expenses of such employment shall be
      In subsec. (b), ‘‘section 1254 of title 28’’ substituted     paid out of the appropriation for the Commis-
    for ‘‘sections 239 and 240 of the Judicial Code, as amend-     sion.
    ed [28 U.S.C. 346, 347]’’ on authority of act June 25, 1948,
                                                                   (d) Violation of market manipulation provisions
    ch. 646, 62 Stat. 869, the first section of which enacted
    Title 28, Judiciary and Judicial Procedure.                      In any proceedings under subsection (a), the
                                                                   court may prohibit, conditionally or uncondi-
                          AMENDMENTS
                                                                   tionally, and permanently or for such period of
       2005—Subsec. (d). Pub. L. 109–58 added subsec. (d).         time as the court determines, any individual
       1958—Subsec. (a). Pub. L. 85–791, § 19(a), inserted sen-    who is engaged or has engaged in practices con-
    tence providing that until record in a proceeding has          stituting a violation of section 717c–1 of this
    been filed in a court of appeals, Commission may mod-
    ify or set aside any finding or order issued by it.
                                                                   title (including related rules and regulations)
       Subsec. (b). Pub. L. 85–791, § 19(b), in second sentence,   from—
    substituted ‘‘transmitted by the clerk of the court to’’           (1) acting as an officer or director of a nat-
    for ‘‘served upon’’, substituted ‘‘file with the court’’ for     ural gas company; or
    ‘‘certify and file with the court a transcript of’’, and in-       (2) engaging in the business of—
    serted ‘‘as provided in section 2112 of title 28’’, and, in          (A) the purchasing or selling of natural
    third sentence, substituted ‘‘petition’’ for ‘‘transcript’’,       gas; or
    and ‘‘jurisdiction, which upon the filing of the record              (B) the purchasing or selling of trans-
    with it shall be exclusive’’ for ‘‘exclusive jurisdiction’’.
                                                                       mission services subject to the jurisdiction
                                                                       of the Commission.
           Statutory Notes and Related Subsidiaries
                                                                   (June 21, 1938, ch. 556, § 20, 52 Stat. 832; June 25,
                         CHANGE OF NAME
                                                                   1948, ch. 646, § 1, 62 Stat. 875, 895; Pub. L. 109–58,
      Act June 25, 1948, eff. Sept. 1, 1948, as amended by act     title III, § 318, Aug. 8, 2005, 119 Stat. 693.)
    May 24, 1949, substituted ‘‘court of appeals’’ for ‘‘circuit
    court of appeals’’ wherever appearing.
                                                                                        Editorial Notes
    § 717s. Enforcement of chapter                                                       CODIFICATION
    (a) Action in district court for injunction                       The words ‘‘the District Court of the United States
      Whenever it shall appear to the Commission                   for the District of Columbia’’ in subsec. (a) following
                                                                   ‘‘district court of the United States’’ and in subsec. (b)
    that any person is engaged or about to engage in               following ‘‘district courts of the United States’’ omit-
    any acts or practices which constitute or will                 ted as superfluous in view of section 132(a) of Title 28,
    constitute a violation of the provisions of this               Judiciary and Judicial Procedure, which states that
    chapter, or of any rule, regulation, or order                  ‘‘There shall be in each judicial district a district court
    thereunder, it may in its discretion bring an ac-              which shall be a court of record known as the United




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§ 385.713 Request for rehearing (Rule 713)., 18 C.F.R. § 385.713
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  Code of Federal Regulations
    Title 18. Conservation of Power and Water Resources
      Chapter I. Federal Energy Regulatory Commission, Department of Energy
         Subchapter X. Procedural Rules
            Part 385. Rules of Practice and Procedure (Refs & Annos)
               Subpart G. Decisions

                                                      18 C.F.R. § 385.713

                                          § 385.713 Request for rehearing (Rule 713).

                                                   Effective: March 23, 2006
                                                          Currentness


(a) Applicability.


     (1) This section applies to any request for rehearing of a final Commission decision or other final order, if rehearing is
     provided for by statute, rule, or order.


     (2) For the purposes of rehearing under this section, a final decision in any proceeding set for hearing under subpart E of
     this part includes any Commission decision:


     (i) On exceptions taken by participants to an initial decision;


     (ii) When the Commission presides at the reception of the evidence;


     (iii) If the initial decision procedure has been waived by consent of the participants in accordance with Rule 710;


     (iv) On review of an initial decision without exceptions under Rule 712; and


     (v) On any other action designated as a final decision by the Commission for purposes of rehearing.


     (3) For the purposes of rehearing under this section, any initial decision under Rule 709 is a final Commission decision
     after the time provided for Commission review under Rule 712, if there are no exceptions filed to the decision and no
     review of the decision is initiated under Rule 712.


(b) Time for filing; who may file. A request for rehearing by a party must be filed not later than 30 days after issuance of any
final decision or other final order in a proceeding.


(c) Content of request. Any request for rehearing must:



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§ 385.713 Request for rehearing (Rule 713)., 18 C.F.R. § 385.713
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     (1) State concisely the alleged error in the final decision or final order;


     (2) Conform to the requirements in Rule 203(a), which are applicable to pleadings, and, in addition, include a separate
     section entitled “Statement of Issues,” listing each issue in a separately enumerated paragraph that includes representative
     Commission and court precedent on which the party is relying; any issue not so listed will be deemed waived; and


     (3) Set forth the matters relied upon by the party requesting rehearing, if rehearing is sought based on matters not available
     for consideration by the Commission at the time of the final decision or final order.


(d) Answers.


     (1) The Commission will not permit answers to requests for rehearing.


     (2) The Commission may afford parties an opportunity to file briefs or present oral argument on one or more issues
     presented by a request for rehearing.


(e) Request is not a stay. Unless otherwise ordered by the Commission, the filing of a request for rehearing does not stay the
Commission decision or order.


(f) Commission action on rehearing. Unless the Commission acts upon a request for rehearing within 30 days after the request
is filed, the request is denied.


Credits
[49 FR 21316, May 21, 1984; 60 FR 4860, Jan. 25, 1995; 60 FR 16567, March 31, 1995; Order 663, 70 FR 55725, Sept. 23,
2005; 71 FR 14642, March 23, 2006]


SOURCE: Order 225, 47 FR 19022, May 3, 1982; 52 FR 28467, July 30, 1987; 52 FR 35909, Sept. 24, 1987; 53 FR 15032,
April 27, 1988; 53 FR 16408, May 9, 1988; 53 FR 32039, Aug. 23, 1988; 55 FR 50682, Dec. 10, 1990; 57 FR 21734, May 22,
1992; 58 FR 7987, Feb. 11, 1993; 58 FR 38528, July 19, 1993; 59 FR 63247, Dec. 8, 1994; Order 639, 65 FR 20371, April 17,
2000; Order 620, 65 FR 81344, Dec. 26, 2000; Order 692, 67 FR 52412, Aug. 12, 2002; Order 685, 71 FR 65051, Nov. 7, 2006;
72 FR 11287, March 13, 2007; Order 756, 77 FR 4895, Feb. 1, 2012; Order 826, 81 FR 43941, July 6, 2016; Order 834, 82 FR
8139, Jan. 24, 2017; Order 854, 84 FR 3983, Feb. 14, 2019; Order 865, 85 FR 2018, Jan. 14, 2020, unless otherwise noted.


AUTHORITY: 5 U.S.C. 551–557; 15 U.S.C. 717–717w, 3301–3432; 16 U.S.C. 791a–825v, 2601–2645; 28 U.S.C. 2461; 31
U.S.C 3701, 9701; 42 U.S.C. 7101–7352, 16441, 16451–16463; 49 U.S.C. 60502; 49 App. U.S.C. 1–85 (1988); 28 U.S.C. 2461
note (1990); 28 U.S.C. 2461 note (2015).



Notes of Decisions (90)




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§ 1501.3 Determine the appropriate level of NEPA review., 40 C.F.R. § 1501.3
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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter V. Council on Environmental Quality
         Subchapter A. National Environmental Policy Act Implementing Regulations (Refs & Annos)
            Part 1501. NEPA and Agency Planning (Refs & Annos)

                                                        40 C.F.R. § 1501.3

                                   § 1501.3 Determine the appropriate level of NEPA review.

                                                  Effective: September 14, 2020
                                                           Currentness


(a) In assessing the appropriate level of NEPA review, Federal agencies should determine whether the proposed action:


     (1) Normally does not have significant effects and is categorically excluded (§ 1501.4);


     (2) Is not likely to have significant effects or the significance of the effects is unknown and is therefore appropriate for
     an environmental assessment (§ 1501.5); or


     (3) Is likely to have significant effects and is therefore appropriate for an environmental impact statement (part 1502 of
     this chapter).


(b) In considering whether the effects of the proposed action are significant, agencies shall analyze the potentially affected
environment and degree of the effects of the action. Agencies should consider connected actions consistent with § 1501.9(e)(1).


     (1) In considering the potentially affected environment, agencies should consider, as appropriate to the specific action, the
     affected area (national, regional, or local) and its resources, such as listed species and designated critical habitat under the
     Endangered Species Act. Significance varies with the setting of the proposed action. For instance, in the case of a site-
     specific action, significance would usually depend only upon the effects in the local area.


     (2) In considering the degree of the effects, agencies should consider the following, as appropriate to the specific action:


     (i) Both short- and long-term effects.


     (ii) Both beneficial and adverse effects.


     (iii) Effects on public health and safety.


     (iv) Effects that would violate Federal, State, Tribal, or local law protecting the environment.



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§ 1501.3 Determine the appropriate level of NEPA review., 40 C.F.R. § 1501.3
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SOURCE: 85 FR 43357, July 16, 2020; 85 FR 43359, July 16, 2020, unless otherwise noted.


AUTHORITY: 42 U.S.C. 4321–4347; 42 U.S.C. 4371–4375; 42 U.S.C. 7609; E.O. 11514, 35 FR 4247, 35 FR 4247, 3 CFR,
1966–1970, Comp., p. 902, as amended by E.O. 11991, 42 FR 26967, 3 CFR, 1977 Comp., p. 123; and E.O. 13807, 82 FR
40463, 3 CFR, 2017, Comp., p. 369.



Notes of Decisions (2)

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§ 1502.3 Statutory requirements for statements., 40 C.F.R. § 1502.3
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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter V. Council on Environmental Quality
         Subchapter A. National Environmental Policy Act Implementing Regulations (Refs & Annos)
            Part 1502. Environmental Impact Statement (Refs & Annos)

                                                      40 C.F.R. § 1502.3

                                       § 1502.3 Statutory requirements for statements.

                                                Effective: September 14, 2020
                                                         Currentness


As required by section 102(2)(C) of NEPA, environmental impact statements are to be included in every Federal agency
recommendation or report on proposals for legislation and other major Federal actions significantly affecting the quality of the
human environment.


SOURCE: 85 FR 43357, July 16, 2020; 85 FR 43363, July 16, 2020; 87 FR 23469, April 20, 2022, unless otherwise noted.


AUTHORITY: 42 U.S.C. 4321–4347; 42 U.S.C. 4371–4375; 42 U.S.C. 7609; and E.O. 11514, 35 FR 4247, 3 CFR, 1966–1970,
Comp., p. 902, as amended by E.O. 11991, 42 FR 26967, 3 CFR, 1977 Comp., p. 123.



Notes of Decisions (10)

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§ 1502.16 Environmental consequences., 40 C.F.R. § 1502.16
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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter V. Council on Environmental Quality
         Subchapter A. National Environmental Policy Act Implementing Regulations (Refs & Annos)
            Part 1502. Environmental Impact Statement (Refs & Annos)

                                                      40 C.F.R. § 1502.16

                                            § 1502.16 Environmental consequences.

                                                 Effective: September 14, 2020
                                                          Currentness


(a) The environmental consequences section forms the scientific and analytic basis for the comparisons under § 1502.14. It shall
consolidate the discussions of those elements required by sections 102(2)(C)(i), (ii), (iv), and (v) of NEPA that are within the
scope of the statement and as much of section 102(2)(C)(iii) of NEPA as is necessary to support the comparisons. This section
should not duplicate discussions in § 1502.14. The discussion shall include:


     (1) The environmental impacts of the proposed action and reasonable alternatives to the proposed action and the
     significance of those impacts. The comparison of the proposed action and reasonable alternatives shall be based on this
     discussion of the impacts.


     (2) Any adverse environmental effects that cannot be avoided should the proposal be implemented.


     (3) The relationship between short-term uses of man's environment and the maintenance and enhancement of long-term
     productivity.


     (4) Any irreversible or irretrievable commitments of resources that would be involved in the proposal should it be
     implemented.


     (5) Possible conflicts between the proposed action and the objectives of Federal, regional, State, Tribal, and local land use
     plans, policies and controls for the area concerned. (§ 1506.2(d) of this chapter)


     (6) Energy requirements and conservation potential of various alternatives and mitigation measures.


     (7) Natural or depletable resource requirements and conservation potential of various alternatives and mitigation measures.


     (8) Urban quality, historic and cultural resources, and the design of the built environment, including the reuse and
     conservation potential of various alternatives and mitigation measures.


     (9) Means to mitigate adverse environmental impacts (if not fully covered under § 1502.14(e)).


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     (10) Where applicable, economic and technical considerations, including the economic benefits of the proposed action.


(b) Economic or social effects by themselves do not require preparation of an environmental impact statement. However, when
the agency determines that economic or social and natural or physical environmental effects are interrelated, the environmental
impact statement shall discuss and give appropriate consideration to these effects on the human environment.


SOURCE: 85 FR 43357, July 16, 2020; 85 FR 43363, July 16, 2020; 87 FR 23469, April 20, 2022, unless otherwise noted.


AUTHORITY: 42 U.S.C. 4321–4347; 42 U.S.C. 4371–4375; 42 U.S.C. 7609; and E.O. 11514, 35 FR 4247, 3 CFR, 1966–1970,
Comp., p. 902, as amended by E.O. 11991, 42 FR 26967, 3 CFR, 1977 Comp., p. 123.



Notes of Decisions (1273)

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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter V. Council on Environmental Quality
         Subchapter A. National Environmental Policy Act Implementing Regulations (Refs & Annos)
            Part 1508. Definitions (Refs & Annos)

                                                       40 C.F.R. § 1508.1

                                                      § 1508.1 Definitions.

                                                     Effective: May 20, 2022
                                                           Currentness


The following definitions apply to the regulations in this subchapter. Federal agencies shall use these terms uniformly throughout
the Federal Government.


(a) Act or NEPA means the National Environmental Policy Act, as amended (42 U.S.C. 4321, et seq.).


(b) Affecting means will or may have an effect on.


(c) Authorization means any license, permit, approval, finding, determination, or other administrative decision issued by an
agency that is required or authorized under Federal law in order to implement a proposed action.


(d) Categorical exclusion means a category of actions that the agency has determined, in its agency NEPA procedures (§ 1507.3
of this chapter), normally do not have a significant effect on the human environment.


(e) Cooperating agency means any Federal agency (and a State, Tribal, or local agency with agreement of the lead agency)
other than a lead agency that has jurisdiction by law or special expertise with respect to any environmental impact involved
in a proposal (or a reasonable alternative) for legislation or other major Federal action that may significantly affect the quality
of the human environment.


(f) Council means the Council on Environmental Quality established by title II of the Act.


(g) Effects or impacts means changes to the human environment from the proposed action or alternatives that are reasonably
foreseeable and include the following:


     (1) Direct effects, which are caused by the action and occur at the same time and place.


     (2) Indirect effects, which are caused by the action and are later in time or farther removed in distance, but are still
     reasonably foreseeable. Indirect effects may include growth inducing effects and other effects related to induced changes




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     in the pattern of land use, population density or growth rate, and related effects on air and water and other natural systems,
     including ecosystems.


     (3) Cumulative effects, which are effects on the environment that result from the incremental effects of the action when
     added to the effects of other past, present, and reasonably foreseeable actions regardless of what agency (Federal or non–
     Federal) or person undertakes such other actions. Cumulative effects can result from individually minor but collectively
     significant actions taking place over a period of time.


     (4) Effects include ecological (such as the effects on natural resources and on the components, structures, and functioning
     of affected ecosystems), aesthetic, historic, cultural, economic, social, or health, whether direct, indirect, or cumulative.
     Effects may also include those resulting from actions which may have both beneficial and detrimental effects, even if on
     balance the agency believes that the effects will be beneficial.


(h) Environmental assessment means a concise public document prepared by a Federal agency to aid an agency's compliance
with the Act and support its determination of whether to prepare an environmental impact statement or a finding of no significant
impact, as provided in § 1501.6 of this chapter.


(i) Environmental document means an environmental assessment, environmental impact statement, finding of no significant
impact, or notice of intent.


(j) Environmental impact statement means a detailed written statement as required by section 102(2)(C) of NEPA.


(k) Federal agency means all agencies of the Federal Government. It does not mean the Congress, the Judiciary, or the President,
including the performance of staff functions for the President in his Executive Office. For the purposes of the regulations in this
subchapter, Federal agency also includes States, units of general local government, and Tribal governments assuming NEPA
responsibilities from a Federal agency pursuant to statute.


(l) Finding of no significant impact means a document by a Federal agency briefly presenting the reasons why an action, not
otherwise categorically excluded (§ 1501.4 of this chapter), will not have a significant effect on the human environment and
for which an environmental impact statement therefore will not be prepared.


(m) Human environment means comprehensively the natural and physical environment and the relationship of present and
future generations of Americans with that environment. (See also the definition of “effects” in paragraph (g) of this section.)


(n) Jurisdiction by law means agency authority to approve, veto, or finance all or part of the proposal.


(o) Lead agency means the agency or agencies, in the case of joint lead agencies, preparing or having taken primary responsibility
for preparing the environmental impact statement.


(p) Legislation means a bill or legislative proposal to Congress developed by a Federal agency, but does not include requests
for appropriations or legislation recommended by the President.



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(q) Major Federal action or action means an activity or decision subject to Federal control and responsibility subject to the
following:


    (1) Major Federal action does not include the following activities or decisions:


    (i) Extraterritorial activities or decisions, which means agency activities or decisions with effects located entirely outside
    of the jurisdiction of the United States;


    (ii) Activities or decisions that are non-discretionary and made in accordance with the agency's statutory authority;


    (iii) Activities or decisions that do not result in final agency action under the Administrative Procedure Act or other statute
    that also includes a finality requirement;


    (iv) Judicial or administrative civil or criminal enforcement actions;


    (v) Funding assistance solely in the form of general revenue sharing funds with no Federal agency control over the
    subsequent use of such funds;


    (vi) Non–Federal projects with minimal Federal funding or minimal Federal involvement where the agency does not
    exercise sufficient control and responsibility over the outcome of the project; and


    (vii) Loans, loan guarantees, or other forms of financial assistance where the Federal agency does not exercise sufficient
    control and responsibility over the effects of such assistance (for example, action does not include farm ownership and
    operating loan guarantees by the Farm Service Agency pursuant to 7 U.S.C. 1925 and 1941 through 1949 and business
    loan guarantees by the Small Business Administration pursuant to 15 U.S.C. 636(a), 636(m), and 695 through 697g).


    (2) Major Federal actions may include new and continuing activities, including projects and programs entirely or partly
    financed, assisted, conducted, regulated, or approved by Federal agencies; new or revised agency rules, regulations, plans,
    policies, or procedures; and legislative proposals (§ 1506.8 of this chapter).


    (3) Major Federal actions tend to fall within one of the following categories:


    (i) Adoption of official policy, such as rules, regulations, and interpretations adopted under the Administrative Procedure
    Act, 5 U.S.C. 551 et seq. or other statutes; implementation of treaties and international conventions or agreements, including
    those implemented pursuant to statute or regulation; formal documents establishing an agency's policies which will result
    in or substantially alter agency programs.


    (ii) Adoption of formal plans, such as official documents prepared or approved by Federal agencies, which prescribe
    alternative uses of Federal resources, upon which future agency actions will be based.


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     (iii) Adoption of programs, such as a group of concerted actions to implement a specific policy or plan; systematic and
     connected agency decisions allocating agency resources to implement a specific statutory program or executive directive.


     (iv) Approval of specific projects, such as construction or management activities located in a defined geographic area.
     Projects include actions approved by permit or other regulatory decision as well as Federal and federally assisted activities.


(r) Matter includes for purposes of part 1504 of this chapter:


     (1) With respect to the Environmental Protection Agency, any proposed legislation, project, action or regulation as those
     terms are used in section 309(a) of the Clean Air Act (42 U.S.C. 7609).


     (2) With respect to all other agencies, any proposed major Federal action to which section 102(2)(C) of NEPA applies.


(s) Mitigation means measures that avoid, minimize, or compensate for effects caused by a proposed action or alternatives as
described in an environmental document or record of decision and that have a nexus to those effects. While NEPA requires
consideration of mitigation, it does not mandate the form or adoption of any mitigation. Mitigation includes:


     (1) Avoiding the impact altogether by not taking a certain action or parts of an action.


     (2) Minimizing impacts by limiting the degree or magnitude of the action and its implementation.


     (3) Rectifying the impact by repairing, rehabilitating, or restoring the affected environment.


     (4) Reducing or eliminating the impact over time by preservation and maintenance operations during the life of the action.


     (5) Compensating for the impact by replacing or providing substitute resources or environments.


(t) NEPA process means all measures necessary for compliance with the requirements of section 2 and title I of NEPA.


(u) Notice of intent means a public notice that an agency will prepare and consider an environmental impact statement.


(v) Page means 500 words and does not include explanatory maps, diagrams, graphs, tables, and other means of graphically
displaying quantitative or geospatial information.


(w) Participating agency means a Federal, State, Tribal, or local agency participating in an environmental review or authorization
of an action.




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(x) Proposal means a proposed action at a stage when an agency has a goal, is actively preparing to make a decision on one
or more alternative means of accomplishing that goal, and can meaningfully evaluate its effects. A proposal may exist in fact
as well as by agency declaration that one exists.


(y) Publish and publication mean methods found by the agency to efficiently and effectively make environmental documents
and information available for review by interested persons, including electronic publication, and adopted by agency NEPA
procedures pursuant to § 1507.3 of this chapter.


(z) Reasonable alternatives means a reasonable range of alternatives that are technically and economically feasible, and meet
the purpose and need for the proposed action.


(aa) Reasonably foreseeable means sufficiently likely to occur such that a person of ordinary prudence would take it into account
in reaching a decision.


(bb) Referring agency means the Federal agency that has referred any matter to the Council after a determination that the matter
is unsatisfactory from the standpoint of public health or welfare or environmental quality.


(cc) Scope consists of the range of actions, alternatives, and impacts to be considered in an environmental impact statement.
The scope of an individual statement may depend on its relationships to other statements (§ 1501.11 of this chapter).


(dd) Senior agency official means an official of assistant secretary rank or higher (or equivalent) that is designated for overall
agency NEPA compliance, including resolving implementation issues.


(ee) Special expertise means statutory responsibility, agency mission, or related program experience.


(ff) Tiering refers to the coverage of general matters in broader environmental impact statements or environmental assessments
(such as national program or policy statements) with subsequent narrower statements or environmental analyses (such as
regional or basin-wide program statements or ultimately site-specific statements) incorporating by reference the general
discussions and concentrating solely on the issues specific to the statement subsequently prepared.


Credits
[85 FR 43378, July 16, 2020, as amended at 87 FR 23469, Apr. 20, 2022]


SOURCE: 85 FR 43357, July 16, 2020; 85 FR 43374, July 16, 2020; 87 FR 23469, April 20, 2022, unless otherwise noted.


AUTHORITY: 42 U.S.C. 4321–4347; 42 U.S.C. 4371–4375; 42 U.S.C. 7609; and E.O. 11514, 35 FR 4247, 3 CFR, 1966–1970,
Comp., p. 902, as amended by E.O. 11991, 42 FR 26967, 3 CFR, 1977 Comp., p. 123.



Notes of Decisions (2)



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Current through May 11, 2023, 88 FR 30632. Some sections may be more current. See credits for details.

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                          Certificate of Service

       I hereby certify that I electronically filed the foregoing with the

 Clerk of the Court for the United States Court of Appeals for the

 District of Columbia Circuit by using the appellate CM/ECF system on

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 May 15, 2023
